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Attorneys for Plaintiffs and Proposed Plaintiff Class


                              UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK

JANE DOE on behalf of herself and her minor Case No.:
child; JANE BOE, Sr. on behalf of herself and
her minor child; JOHN COE, Sr. and JANE
COE, Sr. on behalf of themselves and their    FIRST AMENDED CLASS ACTION COMPLAINT
minor children; JOHN FOE, Sr. on behalf of
himself and his minor child; JANE GOE, Sr. on
behalf of herself and her minor child; JANE
LOE on behalf of herself and her medically
fragile child; JANE JOE on behalf of herself
and her medically fragile child; CHILDRENS
HEALTH DEFENSE, and all others similarly
situated,

                  Plaintiffs,

                            vs.

HOWARD ZUCKER, in his official capacity as
Commissioner of Health for the State of New
York; ELIZABETH RAUSCH-PHUNG, M.D.,
in her official capacity as Director of the Bureau
of Immunizations at the New York State
Department of Health; the NEW YORK STATE
DEPARTMENT OF HEALTH; THREE
VILLAGE CENTRAL SCHOOL DISTRICT;
CHERYL PEDISICH, acting in her official
individual capacity as Superintendent, Three
Village Central School District; CORINNE
KEANE, acting in her official individual
capacity as Principal, Paul J. Gelinas Jr. High
School, Three Village Central School District;
LANSING CENTRAL SCHOOL DISTRICT;

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CHRIS PETTOGRASSO, acting in her official
individual capacity as Superintendent, Lansing
Central School District; CHRISTINE REBERA,
acting in her official individual capacity as
Principal, Lansing Middle School, Lansing
Central School District; LORRI WHITEMAN,
acting in her official individualcapacity as
Principal, Lansing Elementary School, Lansing
Central School District; PENFIELD CENTRAL
SCHOOL DISTRICT; DR. THOMAS
PUTNAM, acting in his official indvidual
capacity as Superintendent, Penfield Central
School District; SOUTH HUNTINGTON
SCHOOL DISTRICT; DR. DAVID P.
BENNARDO, acting in his official
individualcapacity as Superintendent, South
Huntington School District; BR. DAVID
MIGLIORINO, acting in his individual and
official capacity as Principal, St. Anthony’s
High School, South Huntington School District;
ITHACA CITY SCHOOL DISTRICT; DR.
LUVELLE BROWN, acting in his official
individual capacity as Superintendent, Ithaca
City School District; SUSAN ESCHBACH,
acting in her official individual capacity as
Principal, Beverly J. Martin Elementary School,
Ithaca City School District;
SHENENDEHOWA CENTRAL SCHOOL
DISTRICT; DR. L. OLIVER ROBINSON,
acting in his official capacity as Superintendent,
Shenendehowa Central School District; SEAN
GNAT, acting in his official capacity as
Principal, Koda Middle School, Shenendehowa
Central School District; ANDREW HILLS,
acting in his official capacity as Principal,
Arongen Elementary School, Shenendehowa
Central School District; COXSACKIE-
ATHENS SCHOOL DISTRICT; RANDALL
SQUIER, Superintendent, acting in his official
individual capacity as Superintendent,
Coxsackie-Athens School District; FREYA
MERCER, acting in her official individual
capacity as Principal, Coxsackie-Athens High
School, Coxsackie-Athens School District;
ALBANY CITY SCHOOL DISTRICT;
KAWEEDA G. ADAMS, acting in her official

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individual capacity as Superintendent, Albany
City School District; MICHAEL PAOLINO,
acting in his official individual capacity as
Principal, William S. Hackett Middle School,
Albany City School District; and all others
similarly situated

               Defendants.



                                      INTRODUCTION

   1. This lawsuit arises because the above-named defendants and their similarly situated

colleagues have adopted policies, procedures, and practices which arbitrarily narrow and place

unreasonable burdens on the availability of medical exemptions to the mandatory school

immunization requirements for medically fragile children who need them.

   2. As a result, hundreds of medically fragile children across New York State have and

continue to be been expelled from school and denied vital services and programming after their

medical exemptions written by licensed treating physicians are overruled by school administrators

with no medical training.

   3. Decades ago, the New York State legislature adopted mandatory school vaccine

requirements for the primary purpose of protecting medically fragile children. The theory behind

the mandates is that if sufficient numbers of children are vaccinated against a disease, their

immunity will create a protective buffer, or “herd immunity,” and thereby prevent disease from

reaching those children who cannot take the vaccine or for whom vaccination does not create

immunity.

   3.4.        Public Health Law §2164(2) requires that “[e]very person in parental relation to a

child in this state shall have administered to such child an adequate dose or doses of an

immunizing agent against” an enumerated list of illnesses. School principals are prohibited from


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admitting any student whose parents have not complied with the immunization laws in PHL

§2164.

   4.5.        Every However, every state in the country including New York, provides a

medical exemption to the mandatory vaccine requirements for school admissionfor children. New

York’s medical exemption is codified in New York Public Health Law §2164[8], which states:

“If any physician licensed to practice medicine in this state certifies that such immunization may

be detrimental to a child’s health, the requirements of this section shall be inapplicable until such

immunization is found no longer to be detrimental to the child’s health.”

   5.6.        On August 16, 2019, acting in his official capacity, defendant Howard Zucker,

M.D., issued “Emergency Regulations to Strengthen Medical Exemption Process for School

Vaccinations.” New York Codes, Rules and Regulations (10 NYCRR §66-1). These regulations

were signed into law on December 31, 2019.

   7. These new medical exemption regulations, and the policies and practices of the above-

named defendants in implementing them, place undue burdens on the availability of a medical

exemption for deserving medically fragile children, effectively disabling it for all but an

arbitrarily narrow subset of children.

   6.8.        The regulations also fundamentally frustrate the clear statutory language, which

provides that if any physician licensed to practice medicine in this state certifies a vaccine may

cause a child harm, the child should be exempt.

   7.9.        First, a new subdivision (l) of section 66-1.1 takes the determination of what “may

be detrimental to the child’s health” away from the treating physician.

   8.10.       Rather than allow physicians to exercise their clinical judgment, the regulations as

they are applied narrowly define the allowable reasons for a medical exemption to medical



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“contraindications or precautions” listed under the Center for Disease Control’s Advisory

Committee for Immunization Practices guidance (“ACIP Guidance”).

   9.11.       However, the ACIP guidance is not comprehensive and was never intended to

serve as a basis for granting or denying medical exemption. The CDC itself has clearly stated that

the ACIP guidance is not meant to replace the clinical judgment of a treating physician.

   10.12.      Hundreds of additional reasons exist which could put some children at substantial

risk of harm as indicated by the long list of precautions and known adverse reactions listed in

manufacturers’ inserts, the long list of injuries and conditions compensated by the Vaccine Injury

Compensation Program, and the Institute of Medicine reports that clearly and expressly

acknowledge subpopulations who have a pre-existing susceptibility to serious adverse reaction.

   11.13.      Second, the new regulations give school principals, who do not generally have any

medical or legal training, authority to overrule treating physicians.

   14. If the principal does not agree or understand how the exemption written by the treating

physician fits into the complicated recommendations set forth by ACIP, the regulations allow

and encourage them to overrule the treating physician and demand that the medically fragile child

either get the contraindicated immunizations or leave school.

   15. Review is not mandatory – even under the new regulations, schools are not required to do

anything more than collect the form. However, the new regulations allow a principal to go further

and conduct a review if they desire to do so, and the regulations provide that the principal has

sole authority to overrule a physician.

   12.16.      All named school district defendants in this lawsuit have elected to adopt

discretionary policies to review and overrule physicians.




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   13.17.      The new regulations do not require that the school principal consult with any

medical professionals before overruling treating physicians and denying a medical exemption.

   14.18.      When principals do consult with professionals, the consulting physicians typically

have never met the child in question, never conducted a medical examination, have not spoken to

the family or gathered the child’s or the family’s medical history, and have not consulted with the

child’s treating physicians in an unbiased or deferential manner.

   19. Third, the new regulations contain overburdensome requirements for doctors and are

being implemented in a manner that deters physicians from writing medical exemptions, even

after they have concluded that an immunization is unsafe for the child.

   15.20.      These burdens subordinate the chosen physician’s best medical judgment and

interfere with the doctor-patient relationship.

   16.21.      Some cChildren who have had medical exemptions to immunization for years are

now suddenly unable to find a physician willing to submit him/herself to the burdens and

intimidation imposed upon physicians who write exemption letters. Others find that even when

their physicians and specialists submit certifications, they are rejected, often without any

explanation or reason provided. Families are forced to gather corroborating opinions from

specialists and then are still denied even after the submission of three or more certifications from

different licensed physicians that the child is at risk of serious harm.

   17.22.      The number of vaccines that was originally mandated was small and generally

tracked pandemics. Under the law today, depending on the region of the state where the child

resides, students in any public, private, or parochial school or daycare program must receive at

least twenty six doses of vaccines, sometimes fifty or more, between birth and the age of eighteen

or forego an education. New York Public Health Law § §2164[2][a]. New mandated



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immunizations are being proposed every year. These vaccines are required whether or not there

is an outbreak or reasonable chance of an outbreak of vaccine-preventable disease.

   18.23.      Many of the mandatory vaccines on the current schedule do not provide protection

for anyone but the recipient. This category of vaccines can mitigate symptoms but cannot stop

replication and transmission of infectious disease. This is well-established science.

   19.24.      Even for those vaccines that may provide “sterilizing immunity” and prevent

transmission to others as well as personal protection, there is little evidence that the current

number of students seeking a medical exemption could pose any significant threat to the

community or to herd immunity goals.

   20.25.      The potential risk to these children, on the other hand, has been documented by

licensed treating physicians as serious enough that the physicians have recommended against one

or more of the mandated vaccines.

   26. The adoption of the procedures and policies prompted by the NYSDOH Regulations has

already forced hundreds of New York families to act in a manner contrary to their doctor’s advice

about what is safe and appropriate for their child or lose the right to give their child an education.

Many more families of medically fragile children continue to be put in this impossible position

each month.

   21.27.      The state official defendants announced after this lawsuit was originally filed that

they have adopted new policies which will even bar students from attending school entirely online

if a principal rejects their medical exemption. These students cannot even come to the school or

participate remotely in the SAT, or Regents exams or any online educational opportunity. Most

school districts have elected to also exclude them from needed services that are provided to

homeschooled children with the same special needs.



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   22. The law is unconstitutional on its face and has the effect of depriving parents and children

of a multiple fundamental constitutional rights and even internationally recognized human rights.

   23.28.      Since the new regulations were enacted, multiple successful lawsuits have been

brought on behalf of individual plaintiffs challenging the arbitrary denial of their child’s medical

exemptions. However, hundreds of other children who lack the resources to pursue an individual

suit remain unable to get relief.

   24.29.      These medically fragile children are the very children the vaccination mandates

were primarily enacted to protect.

   25.30.      It is well established by peer reviewed science that some children cannot safely

receive immunizations. It is vital that children be allowed to follow the advice of their doctors

and that their parents maintain the right of informed consent in accordance with the advice of

medical professionals that they trust given these known risks.

   26.31.      Plaintiffs seek a declaration from this Court affirming that their rights have been

violated and entry of a permanent injunction against future infringement on their rights to obtain

a medical exemption from immunization. They also seek general compensatory, nominal and

punitive damages against non-state defendants.

   27.32.      The barriers and burdens placed on the medical exemption process in New York

through the new regulations are unconstitutional both on their face and as applied.

                                    JURISDICTION AND VENUE

   28.33.      This is a civil action seeking injunctive relief and damages for the continuing

violation of plaintiffs’ rights arising under the Fifth and Fourteenth Amendment to the United

States Constitution as made actionable pursuant to 42 U.S.C. sec. 1983.




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   29.34.      The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343(3)

and (4) and 2201, 2201(a) and 2202 and 42 U.S.C. sections 1983 and 1988 and supplemental

jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. §1367.

   30.35.      Venue is appropriate as the alleged unconstitutional acts occurred in the Northern

District of New York, along with other districts in New York, and some of the plaintiffs and

defendants reside in the Northern District of New York. All of the state official defendants

conduct business and reside in the Northern District of New York.

                       CLASS ACTION ALLEGATIONS PLAINTIFFS

   31.36.      Plaintiffs, include families of medically fragile children whose medical exemption

has been denied or subjected to overburdensome harmful requirements, along with Children’s

Health Defense, a national not-for-profit organization dedicated to advocating for the safety of

children and whose members include families who are deleteriously impacted by the policies,

procedures and practices of the defendants and their agents regarding the medical exemption in

New York.

   32.37.      Plaintiffs seek certification of this action as a class action pursuant to Federal Rule

of Civil Procedure 23(a) and 23(b)(2) on behalf of the named plaintiffs and the following class:

parents of medically fragile children residing in New York State whose licensed medical

providers have indicated or certified that one or more of the vaccines required for school

admission in New York might be harmful to the child’s health and who have thereafter submitted

a medical exemption to a school in New York State and faced unreasonable burdens or denial as

a result of the challenged actions of the defendants, their agents and assignmedically fragile

children and their parents who have or will seek a medical exemption to school immunization

requirements on or after August 16, 2019.



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   38. Named plaintiff assert claims which are common and typical of the claims possessed by

other similarly situated persons too numerous to be individually joined in this matter. The right

to a medical exemption from an otherwise permissible health regulation for any person whose

licensed provider has certified that they are at risk of harm from the regulation is one of the most

strictly guarded fundamental constitutional rights, implicating the right to life itself.

   33. Pursuant to Supreme Court precedent, it is unlawful to subject the medical exemptions

written by licensed physicians to review, to require corroboration, or for the state to pursue

policies which subordinate the good faith medical judgment of the parent’s chosen licensed

physician as the defendants, individually and collectively, are all doing in this case.

   39. Plaintiffs primarily seek equitable relief to declare the unconstitutionality of the

defendants’ practices and stop these widespread and dangerous policies from continuing.

   40. Though individually named defendants may face additional personal liability for their

draconian discretionary actions, all children who seek a medical exemption in New York have

been unconstitutionally burdened by the same base level unconstitutional practices. Specifically,

their ability to obtain a medical exemption has been constrained by unconstitutional limitations

on “what may cause harm”, their doctor-patient relationships have been unconstitutionally

subordinated and they have been unable to exercise their fundamental rights to make medical

decisions in accordance with their licensed provider’s best medical judgment in cases where their

children are at risk of serious harm free from undue burdens imposed by the state actors and

individual defendants.

   34.41.      These common questions predominate over more individualized determinations

because the relief plaintiffs seek relates to defendants’ practices and policies which affect or may

affect each purported class member.



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    35.42.      The participation of each class member is not required for the efficient and fair

resolution of the issues raised herein.

    36.43.      Plaintiffs are represented by competent counsel who have experience representing

large classes and litigating on their behalvesbehalf.

    37.44.      Proposed class representatives have no conflicts with other class representatives,

with class members or counsel. The named class members will fairly and adequately represent

the interests of the class.

    38.45.      Each named plaintiff possesses a strong personal interest in the subject matter and

the primary relief sought is declaratory and injunctive relief from arbitrary and unconstitutional

policies, procedures and practices of defendants which harm all class members in a similar

manner.

    39.46.      Absent class certification, there is a possibility of inconsistent results affecting

class members.

                       CLASS ACTION ALLEGATIONS DEFENDANTS

    47. Defendants, include the New York State Department of Health, it’s agents and assigns,

including HOWARD ZUCKER, in his official capacity as Commissioner of Health for the State

of New York, ELIZABETH RAUSCH-PHUNG, M.D., in her official capacity as Director of the

Bureau of Immunizations at the New York State Department of Health, named and unnamed

implementing school districts, along with their agents and assigns, and individually named

building principals and superintendents acting in their official individual capacities as employees

of said school districts.

    40.48.      Attorneys for the plaintiffs seek certification of a class of defendants pursuant to

Federal Rule of Civil Procedure 23(a) and 23(b)(2) including all implementing school districts,



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building principals and superintendents that have implemented the regulations of the New York

State Department of Health in a manner which has unreasonably burdened the ability of one or

more member of the members of the plaintiff class in this action to obtain medical exemptions

for their children pursuant to the advice of their licensed medical providers.

                                            PARTIES

    A. PLAINTIFFS

41.49. Plaintiffs are parents and their minor children who have sought medical exemptions from

one or more mandatory immunization requirement for school attendance in New York State based

on the advice of their treating physicians that such immunization poses unacceptable risks to their

children’s health, qualifying them for a medical exemption from otherwise required vaccinations.

All of the named plaintiffs qualify as disabled pursuant to the Rehabilitation Act of 1973.

42.50. Jane Doe is the mother of John Doe, a fifteen-year-old boy with multiple auto-immune

and progressive neurological disease diagnoses who resides with his parents in Greene County,

New York in the Coxsackie-Athens School District. John has been denied an education since

October 7, 2019 despite having submitted medical exemptions with certifications from two

licensed physicians detailing why immunization would not be safe for him.

43.51. Jane Boe, Sr. is the mother of Jane Boe, a fifteen-year-old girl with multiple diagnosed

autoimmune syndromes and health challenges, including autoimmune encephalitis, which causes

progressive neurological injury and attacks the brain. Jane and her siblings have all had severe

adverse reactions to immunization. Jane’s eldest brother died of complications from

immunization. Jane has been unable to attend school since January, 2020, despite submitting

medical exemptions from three licensed physicians who have indicated that she is at risk of harm

and an admission from the reviewing school district doctor that though he felt he had to deny the



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exemption request, he would not recommend immunizing Jane either. Jane lives with her parents

and her surviving brother in the Three Village Central School District in New York.

44.52. John Coe, Sr. and Jane Coe, Sr. are the parents of Jane Coe (age twelve) and John Coe

(age ten), two medically fragile children who live in the Lansing Central School District in New

York. Due to a family history of severe reaction to immunization, including two deaths, along

with subsequent genetic testing that reveals genetic vulnerability to injury, the children have never

been vaccinated. Jane and John have been excluded from school since January 2020 after the

medical exemption submitted by a licensed physician and genetic counselor was denied without

explanation.

45.53. John Foe, Sr. is the father of John Foe, an eleven-year-old boy with special needs who

suffers from Hirschsprung’s Disease, a rare and serious genetic condition. John is so medically

fragile and sensitive to chemicals and many medications that if he needs to take antibiotics, he

must be hospitalized first so that medical care can be given to treat the cascade of severe reactions

that ensue. On the advice of his pediatrician, John has not been vaccinated since he had a severe

reaction to immunization as a baby. He has been excluded from attending public school since

September 2019 despite two submissions from his licensed treating pediatrician detailing the

severe risks that further immunization poses to him. The family resides in Albany, New York.

46.54. Jane Goe, Sr. is the mother of Jane Goe, a seventeen-year old suffering from multiple

severe diagnosed autoimmune conditions. The family lives in the Penfield Central School

District, which denied exemption letters from her treating physician, requiring corroboration from

a specialist. The District then denied the subsequent exemption letter written by the chief of

endocrinology at the University of Rochester Hospital, stating that Jane would have to submit a




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third corroborating letter from one of two particular specialists the school district doctor named

before the school would consider her exemption request;

47.55. Jane Loe is the mother of John Loe, a fifteen-year-old severely ill boy who has had

medical exemptions from immunization since he was seven years old. John has been unable to

attend school since September 2019 despite the submission of medical exemptions written by two

highly regarded treating specialists. Before his removal, he attended the private school in the

South Huntington School District in New York.

48.56. Jane Joe is the mother of John Joe, a six year old boy with special needs residing in the

Ithaca City School District who has had accepted medical exemptions from immunization since

he suffered severe anaphylaxis to his hepatitis B vaccine as a baby. John’s previously accepted

medical exemption was revoked in November 2019, when he was removed from school and

denied any of the extensive services which were promised to him under his Individualized

Education Plan with the School District.

49.57. Plaintiff Children’s Health Defense (“CHD”) is a national not-for-profit membership

organization of parents, advocates for children and attorneys. CHD’s mission is to protect children

from harm and to work with their members to change laws, policies and practices that put children

at risk.and stop environmental harms and to change policies that place children at risk.

50.58. CHD accomplishes its mission by, among other things: engaging in litigation and

advocacy to reform policies that put children at risk; providing resources, training, and

information to members to assist them in protecting the rights and health of their children;

educating the public and policymakers about the experiences of children with disabilities and their

families; and educating members about developments in the federal laws and policies affecting

the health of children;



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51.59. CHD has members located across the United States. Membership is open to all persons

who are interested in furthering CHD’s purposes. The Board of Directors is composed exclusively

of CHD members. CHD has active members in New York, including parents of children named

in this lawsuit and eligible for class membership in this lawsuit.

60.    CHD’s members also include attorneys and advocates who represent children with

medical exemptions to immunization and medical professionals whose professional practices and

ability to safeguard their patients are burdened by the regulations.

52.61. Defendant’s practices in arbitrarily burdening and limiting the right of families to follow

the advice of their medical providers about what is safe for medically fragile children’s health has

made achieving this the mission of protecting children more difficult, time-consuming, and

resource-intensive for these members and for the organization itself. These attorneys and

advocates haveCHD and it’s professional members have expended substantial time and resources

they would have devoted to other work on behalf of medically fragile children in order to respond

to requests for assistance concerning the inappropriate denial or unconstitutionally burdensome

requirements placed on the medical exemption process in New York. CHD has also had to spend

substantial money on litigation that could have been used to work on other initiatives to protect

children.

53.62. CHD brings this action on behalf of itself and its active members who have children in

the plaintiff class or who represent a child in the plaintiff class as a medical provider, an attorney

or advocate.

54.63. Plaintiffs seek to certify a class of all similarly situated families who have been subjected

to unconstitutional burdens on the medical exemption application process in New York.

B. DEFENDANTS



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55.64. Defendant Howard Zucker, M.D., (Dr. Zucker), is the duly appointed Commissioner of

the Department of Health for the State of New York. He is sued in his official capacity and

conducts business in this judicial district.

56.65. Defendant Elizabeth Rausch-Phung, M.D., (Dr. Rausch-Phung), is the Director of the

Bureau of Immunizations at the New York State Department of Health. She is sued in her official

capacity and conducts business in this judicial district.

57.66. Defendant New York State Department of Health (NYSDOH) is the administrative

agency in the executive branch of the New York State government. NYSDOH has authority to

promulgate rules and regulations pursuant to Article 2 of the State Administrative Procedures Act

(SAPA). It conducts business in this judicial district and as a department of the state of New York

that receives federal funds may be sued pursuant to 42 U.S.C. section 1983 for declaratory and

injunctive relief under the Rehabilitation Act of 1973.

58.67. The Three Village School District is a municipal corporation organized pursuant to the

laws of the State of New York, receives federal funds, and it may sue and be sued.

59.68. Cheryl Pedisich is the Superintendent of the Three Village Central School District and is

sued in her official personal capacity for actions and omissions she engaged in as a state actor and

under color of state law.

60.69. Corinne Keane is the Principal of Paul J. Gelinas Jr. High School in Three Village Central

School and is sued in her official personal capacity for actions and omissions she engaged in as a

state actor and under color of state law.

61.70. The Lansing Central School District is a municipal corporation organized pursuant to the

laws of the State of New York, receives federal funds, and may sue and be sued.




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62.71. Chris Pettograsso is the Superintendent of the Lansing Central School District and is sued

in her official personal capacity for actions and omissions she engaged in as a state actor and

under color of state law.

63.72. Lorri Whiteman is the Principal of Lansing Elementary School and is sued in her official

personal capacity for actions and omissions she engaged in as a state actor and under color of

state law.

64.73. Christine Rebera is Principal of Lansing Middle School and is sued in her official personal

capacity for actions and omissions she engaged in as a state actor and under color of state law.

65.74. The Penfield Central School District is a municipal corporation organized pursuant to the

laws of the State of New York, receives federal funds, and may sue and be sued.

66.75. Dr. Thomas Putnam is the Superintendent of the Penfield Central School District and is

sued in his official personal capacity for actions and omissions he engaged in as a state actor and

under color of state law.

67.76. The South Huntington School District is a municipal corporation organized pursuant to

the laws of the State of New York and it may sue and be sued.

68.77. Dr. David P. Bennardo is the Superintendent of the South Huntington School District and

is sued in his official personal capacity for actions and omissions he engaged in as a state actor

and under color of state law.

69.78. Brother David Migliorino is the Principal of St. Antony’s High School, a private school

in the South Huntington School District, and is sued in his personal and official capacity for

actions and omissions he engaged in as a state actor and under color of state law.

70.79. The Ithaca City School District is a municipal corporation organized pursuant to the laws

of the State of New York, receives federal funds, and it may sue and be sued.



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71.80. Dr. Luvelle Brown is the Superintendent of the Ithaca City School District and is sued in

his official personal capacity for actions and omissions he engaged in as a state actor and under

color of state law.

72.81. Susan Eschbach is the Principal of Beverly J. Martin Elementary School in the Ithaca City

School District and is sued in her official personal capacity for actions and omissions she engaged

in as a state actor and under color of state law.

73.      The Shenendehowa Central School District is a municipal corporation organized pursuant

to the laws of the State of New York and it may sue and be sued.

74.      Dr. L. Oliver Robinson is the Superintendent of the Shenendehowa Central School District

and is sued in his official capacity for actions and omissions he engaged in as a state actor and

under color of state law.

75.       Sean Gnat is the Principal of Koda Middle School in Shenendehowa School District and

      is sued in his official capacity for actions and omissions he engaged in as a state actor and

      under color of state law.

76.      Andrew Hills is the Principal of Arongen Elementary School in Shenendehowa School

      District and is sued in his official capacity for actions and omissions he engaged in as a state

      actor and under color of state law.

77.82. The Coxsackie-Athens School District is a municipal corporation organized pursuant to

the laws of the State of New York, receives federal funds, and it may sue and be sued.

83.      Randall Squier is the Superintendent of the Coxsackie-Athens School District and is sued

in his official personal capacity for actions and omissions he engaged in as a state actor and under

color of state law.




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78.84. FREYA MERCER is the Principal of Coxsackie-Athens High School and is sued in her

personal capacity for actions and omissions engaged in under color of state law.

79.85. The Albany City School District is a municipal corporation organized pursuant to the laws

of the State of New York, receives federal funds, and it may sue and be sued.

80.86. Kaweeda G. Adams is the Superintendent of the Albany City School District and is sued

in his official peresonal capacity for actions and omissions he engaged in as a state actor and

under color of state law.

81.87. Michael Paolino is the Principal of William J. Hackett Middle School in Albany City

School District and is sued in his official personal capacity for actions and omissions he engaged

in as a state actor and under color of state law.

82.88. Plaintiffs seek to certify a defendant class of school principals, superintendents and school

districts which have implemented the challenged policies and practices against one or more of the

plaintiff class.

                                               FACTS

89.          Defendants and their agents have adopted state-wide policies and procedures that are

 placing unconstitutional burdens on families of medically fragile children and subjecting them

 to unjustifiable risk of harm.

83.90. The individual experiences of the following named plaintiffs are representative of what is

 happening to hundreds of medically fragile children across New York State.

                                               John Doe

84.91. John Doe (“John”) is a fifteen-year-old boy who resides with his parents Jane Doe and

John Doe, Sr. in the Coxsackie-Athens School District in New York.




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85.92. John’s diagnoses include: mitochondrial disorder, hypoglycemia, genetic mutations,

environmentally induced porphyria, metabolic and hormonal imbalances, eczema, food and

environmental allergies, candida infection, amino acid disorder, heavy metal toxicity, and several

autoimmune disorders—including Pediatric Autoimmune Neurological Disorder Associated with

Streptococcus (“PANDAS”), Irritable Bowel Syndrome (“IBS”), thyroid disease, and Gluten-

Sensitive Enteropathy.

86.93. John’s conditions are chronic, incurable and at times completely debilitating. John’s

disabilities significantly impair multiple major life functions, including but not limited to the

functions of his immune system. Before the family found a specialist able to treat him, the family

had significant problems maintaining normal routines and John was unable to consistently attend

or remain in early childhood programs.

87.94. When John was four, his parents began seeing a specialist in Massachusetts known to help

children with PANDAS. Through years of hard work and vigilant routines by his parents and

providers, John has begun to stabilize and regain some measure of health and normalcy.

88.95. Avoiding triggers, including certain foods, chemicals, and immunizations, has been

critical to prevent regression of one or more of John’s auto-immune diseases and in managing his

disorders.

89.96. Following the advice of multiple treating physicians, John has not received any

immunizations.

90.97. On August 23, 2019, John’s parents submitted a medical exemption from John’s

pediatrician, Dr. Peter Forman (“Dr. Forman”), a licensed New York physician who has been

John’s primary care physician for more than ten years. Dr. Forman included a supplemental letter




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from Dr. Papanicolaou (“Dr. Papanicolaou”), John’s treating physician at the Massachusetts

clinic he has attended for eleven years.

91.98. Both treating physicians have seen John regress into debilitating flare ups of his

underlying medical conditions when faced with immune triggers. Both doctors concurred that it

was unsafe for John to receive any immunization given his multiple chronic and serious

conditions and the risk that immunization could trigger a regression.

92.99. On September 16, 2019, the schooldefendant Randall Squire denied the medical

exemption based on the opinion of Dr. Stephen G. Hassett (“Dr. Hassett”), an emergency

medicine physician acting under his supervision who acts asis a paid consultant to the Coxsackie-

Athens Central School District.

93.100.           Dr. Hassett recommended denying the exemption based on his opinion that the

letters did not specify how the exemption request qualified under the ACIP contraindications or

precautions.

94.101.           Dr. Hassett does not specialize in treating any of John’s medical conditions or even

in treating children.

95.102.           Before overriding John’s treating physicians’ recommendations, Dr. Hassett never

examined John, called either of his treating physicians or reviewed any of his records other than

the exemption form and accompanying letters. In fact, Dr. Hassett refused the mother’s request

to speak to John’s pediatrician or review supplementary materials to clarify why the two treating

physicians believed that he needed a medical exemption. Defendant Squire was made aware of

these failures.

96.103.           After the denial, Dr. Forman called Dr. Hassett. During this phone conversation,

Dr. Hassett indicated that he had no discretion to hear any supplemental information or support



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for the exemption and was obligated to follow the strict guidelines set forth by ACIP based only

on the information he received on the form.

97.104.        On Saturday, October 5, 2019, the family submitted a second medical exemption

letter in which Dr. Forman detailed for each vaccine how the child’s conditions qualified under

the ACIP guidance as a precaution or contraindication.

98.105.        Within twenty-four hours of receiving the second certification formit, Defendant

Squire again denied the application, again on the recommendation of Dr. Hassett, who said the

second certification was “not supported.” He did not specify why he did not think the exemption

was “supported” even though it detailed how it complied with ACIP. Neither the school nor

defendant Squire asked for any additional information. denied this second submission.

99.106.        When Jane Doe called regarding the second denial, Dr. Hassett conceded that the

exemption letter submitted the second time followed the ACIP guidelines verbatim.

100.107.       Nonetheless, he said he would not “debate” with Jane Doe or provide her with any

explanation about his denial and ended the call. Defendant Squire was made aware of these

actions.

101.108.       To remain in school without a medical exemption, 10 NYCRR § 66-1.1(f)(1)

required John to be vaccinated according to the ACIP Schedule for ages 18 years or younger.

102.109.       ACIP’s “catch-up guidance” requires John to receive twenty-four doses of

vaccines for ten separate diseases within twelve months.

103.110.       John would have to receive nineteen of the twenty-four doses within a four-week

timeline.




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104.111.        No safety studies exist evidencing that injecting twenty-four doses of vaccine into

the body of a fifteen-year-old child (much less a medically fragile child) within twelve months is

safe.

105.112.        Because the family could not risk John’s health in this manner, the family did not

comply, and the school district expelled John.

106.113.        John has been excluded from participation in classes, in person or online since

October 7, 2019. Before his exclusion from school, John was a member of the varsity tennis team

and was looking forward to trying out for the varsity volleyball team. He was an active member

of several social clubs and was on track to earn a Regents diploma.

107.114.        Now, in addition to being excluded from school and activities, John is not allowed

to take any further Regents exams or earn a traditional diploma, and so he will have to forego his

Regent’s diploma and even his and traditional high-school diploma unless legal relief is

forthcoming.

108.115.        The loss of school and related services and socialization has devastated John and

harmed him and his family irreparably.

116.    The family hired an attorney to file an appeal with the Commissioner of Education on

their behalf on or about November 5, 2019. TwoA members of the New York State

LegislatureSenate sent correspondence to the Commissioner of Education supporting the Doe’s

appeal on or about December 20, 2019. This The letters indicated stated that the New York State

Llegislature did not intend for school districts to have unilateral power to overrule treating

physicians. To date,As of the date of filing this federal lawsuit, no response to John’s appeal has

beenwas yet forthcoming and he remaineds unable to receive an education at any private or public

school or to participate in testing or activities.



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117.    Within a week after the original of this complaint was filed, the Commissioner of

Education issued a decision denying John relief. The Commissioner of Education cannot and does

not examine the constitutionality of statutes or regulations, nor will they rule on substantive due

process allegations. The Commissioner limited the review to whether the decision to deny John

was “arbitrary and capricious” and violated the regulations.

118.    The Commissioner’s decision reveals the burdens these families face absent intervention

by the Federal Court.

119.    The Commissioner stated that the family has the burden of proving in the initial

application, all supporting reasons that the child needs a medical exemption. Because the

regulations allow, but do not require schools to request any supporting documentation, the

Commissioner ruled that the school was empowered to overrule a doctor’s determination without

investigating any further than the form if they cannot see clearly on the face of the form how it

complies with ACIP.

120.    The Commissioner acknowledged that the second medical exemption submitted by the

licensed physician had many pages attached which show CDC guidance on immunization in light

of John’s conditions, but deemed this too general even though John has these very conditions.

The Court made no attempt to consider whether John was in danger from immunization, only

whether his conditions were easily identifiable as contraindications specifically enumerated in the

ACIP guidelines which they interpreted without any hearing or testimony from medical

professionals about what did and did not fall within those boundaries.

121.    Last, the Commissioner rejected the claim that the reviewing doctor had a conflict of

interest on the grounds that the school principal has the sole authority to decide the issue, not the

school district doctor. “While petitioner additionally claims that the school physician had a “conflict of



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interest,” I find this argument to be without merit as the building principal, a district employee, is tasked with

deciding requests for medical exemptions (10 NYCRR §66-1.3).”

122.    Thus, even though the building principal, defendant Freya Mercer, exercised absolutely

no oversight or input into the process, the Court excused conflicts of interest that the reviewing

consultant doctor may have as irrelevant based on the holding that Defendant Mercer should have

protected against any overreach and exercised her discretion to make the final decision.

123.    Attorneys for the school district defendants concede that school principals are not

qualified to make this decision.

109.124.         The unconstitutional burdens faced by John and his family all took place pursuant

to discretionary policies adopted by the Coxsackie-Athens School District and their final decision

makers for medical exemptions, which include by regulatory authority defendant Freya Mercer,

and by policy and custom of the district, defendant Squire. These policies were enabled by

unconstitutional regulations and guidance promulgated by the state level officials at the

Department of Health.

                                                   Jane Boe

110.125.         Jane Boe (“Jane”) is a fifteen-year-old girl with multiple diagnosed autoimmune

syndromes and health challenges, including autoimmune encephalitis, which causes progressive

neurological injury and attacks the brain. Jane’s disabilities significantly impair multiple major

life functions, including but not limited to the functions of her immune system

111.126.         Jane lives with her parents, Jane Boe, Sr. and John Boe, and her older brother

within the Three Village Central School District in New York.

112.127.         Jane has been diagnosed with autoimmune encephalitis, Postural Orthostatic

 Tachycardia Syndrome (“POTS”), dysautonomia, and chronic/severe Lyme disease and

 bartonella.

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113.128.       Her health began to significantly deteriorate after her last set of immunizations at

age twelve.

114.129.       Jane’s siblings also suffered similar severe adverse reactions to immunization.

Like Jane, both Jane’s brothers developed autoimmune encephalitis and acute neurological

neuropsychiatric conditions that were significantly exacerbated by immunization.

115.130.       Much of Jane’s childhood has been profoundly impacted by her and her siblings’

medical fragility. Jane’s middle brother became so ill that he was forced to take a medical leave

from middle school to receive medical treatment and homebound instruction. It took several years

of continuous treatment for him to regain his health.

116.131.       In 2016, Jane’s oldest brother then age eighteen decided to receive the

Meningococcal vaccine against medical advice prior to attending his freshman year in college.

This, coupled with a flu vaccine and other immune assaults, are believed to have triggered an

acute cascade of neurological and other health symptoms that ended with Jane’s brother

committing suicide in June 2018.

117.132.       Genetic testing shows vulnerabilities that may explain why all three children have

developed chronic health conditions after immunization.

118.133.       Jane was not immunized for several years after her adverse reaction at age twelve.

In July 2017, she received the TDaP immunization to attend sleepaway camp. After this

immunization, Jane’s health began to deteriorate again.

119.134.       To date, Jane has received all the mandatory immunizations required of her except

for the meningococcal vaccine and booster.

120.135.       Meningococcal vaccines are unable to provide anyone but the recipient with

protection.



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121.136.       Recent studies confirm that the meningococcal vaccine only has a protective effect

on symptoms in the individual who receives the vaccine but cannot stop replication and

transmission of disease.

122.137.       Jane’s physicians determined that the risks of getting this vaccine far outweighed

any potential benefit for Jane.

123.138.       In August 2019, Jane’s family submitted a medical exemption from her treating

physician, Dr. Laura Bennett (“Dr. Bennett”) who is licensed to practice medicine in the State of

New York.

139.   The Three Village Central School District, through their agents defendant Cheryl Pedisch

and defendant Corinne Keane, denied Jane’s medical exemption on the advice of the school

district’s consulting doctor, Dr. Howard Sussman (“Dr. Sussman”).

140.   Dr. Sussman is a paid consultant of the school district under the supervision of defendant

Pedisch.

141.   Defendant Keane has final say pursuant to the new regulations about whether to follow

Dr. Sussman’s advice to accept or deny medical exemptions.

142.   Dr. Sussman limits his reviews only to whether a medical exemption is easily understood

by him as falling under the ACIP contraindications. He does not consider any other “nationally

recognized evidence-based” reasons for a medical exemption and has made this clear to all the

defendants.

124.   The Three Village Central School District, through their agents Defendant Cheryl Pedisch

and Defendant Corinne Keane, denied Jane’s medical exemption on the advice of the school

district’s consulting doctor, Dr. Howard Sussman (“Dr. Sussman”). Dr. Sussman is a paid




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consultant of the school district under the supervision of Defendant Pedisch. Defendant Keane

has final say pursuant to the new regulations about whether to follow his advice or not.

125.   Dr. Sussman limits his reviews only to whether a medical exemption is easily understood

by him as falling under the ACIP contraindications. He does not consider any other “nationally

recognized evidence-based” reasons for a medical exemption and has made this clear to all the

defendants.

126.143.       Dr. Sussman contacted Dr. Bennet to discuss the impending denial of the medical

exemption as written. Dr. Bennett subsequently advised the family that Dr. Sussman stated that

he “wouldn’t give this child the vaccine either”, but the medical exemption wasn’t written

sufficiently and recommended she write a new one with “more specific” language. He According

to Dr. Bennet, Dr. Sussman did not indicate what the “more specific language” should include.

127.144.       Jane’s doctor complied with Dr. Sussman’s recommendation. On September 17,

2019, Jane’s family submitted a second more detailed medical exemption form signed by Dr.

Bennett. Dr. Bennett’s medical exemption was supplemented by a letter detailing that the reasons

for exemption were in line with CDC criteria. She also included a letter from Dr. Nancy O’Hara,

a licensed physician and specialist Jane sees in Connecticut (“Dr. O’Hara”). Both physicians

noted that Jane was undergoing active treatment and agreed that further immunization could put

Jane at risk of serious harm.

128.145.       The school sent the second exemption packet directly to the New York State

Department of Health for review.

129.146.       In November 2019, defendant Dr. Rausch-Phung, a non-practicing physician who

works for the New York State Department of Health, recommended the school deny the

exemption.



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130.147.        Without examining Jane, speaking with her two treating physicians, or requesting

any supplemental records, Dr. Rausch-Phung wrote that it was in Jane’s “best interest” to be

immunized with meningococcal vaccine despite the medical concerns and history. She wrote that

the death of Jane’s sibling, even if it was from an adverse reaction to the vaccine, was not a

sufficient reason to grant an exemption. The school denied the second exemption and indicated

that Jane needed to leave school if she was not immunized against medical advice before

December 20th.

131.148.        In December 2019, Jane’s family submitted a third medical exemption from a third

treating physician, Dr. Caroline Hartridge (“Dr. Hartridge”), also a physician licensed to practice

medicine in New York. Dr. Hartridge’s exemption letter stated that Jane suffered from acute

illness, pointing out that acute illness is a listed precaution under the ACIP guidelines concerning

meningococcal vaccine and recommending that Jane avoid immunization until her illness was no

longer acute.

132.149.        The school district sent the third letter for review at the New York State

Department of Health.

150.   On March 2, 2020, Dr. Rausch Phung sent a letter allowing a “one month” exemption

upon which she asked that the family submit an additional medical exemption form which she

would review. The school could not specify whether the month ran from the date of submission

of the third exemption letter (December 2019) or the date they received a response from Dr.

Rausch Phung (March 2020).

151.   The family had to hire an attorney to attempt to negotiate with the school for clarity. The

Three Village Central School District refused to consider allowing their principal or

superintendent to approve the follow up requests and was unable to provide clarity on whether



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the exemption in place had to be renewed immediately or in April, and how long it might take to

get an answer on the follow up request.

133.152.       Dr. Sussman opined that the opinion ran from December and so the one month

expired two months before the school received the letter back from the DOH or notified the

family. The school expelled Jane in March 2020. The defendants did not even bother to ask Jane’s

family to submit the follow up exemption letter first even though the DOH determination had said

her exemption did qualify, though it was to be resubmitted in a month. Instead, the school

demanded Jane Boe be immunized with the same immunization that killed her brother.

134.153.       Having already lost one child after giving him the meningococcal vaccine against

medical advice, the family was unwilling to risk Jane’s health by going against their three treating

doctors’ advice.

135.154.       Jane was being deeply impacted by the uncertainty about her immunization

exemption request and has been unable to attend school since January 2020. Jane’s parents both

work full time. They have been forced to homeschool Jane and have had to spend enormous

amounts of money on online programs to try to provide their daughter with an education. Jane’s

friendships and sense of self-worth have plummeted. Her grieving process intensified, and she

has suffered deep depression, anger, and sadness from her exclusion from school.

155.   After years working so hard to regain her health, and after the trauma that she and her

family have been through, this experience has caused irreparable harm to Jane and her family.

136.156.       The unconstitutional burdens faced by Jane and her family all took place pursuant

to discretionary policies adopted by the Three Villages School District and their final decision

makers for medical exemptions, which include by regulatory authority defendant Keane, and by

policy and custom of the district, defendant Pedisch. These policies were enabled by



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unconstitutional regulations and guidance promulgated by the state level officials at the

Department of Health and defendant Rausch-Phung, who did not examine the child before

providing medical advice.

                                     Jane Coe and John Coe

137.157.       John Coe (“John”), age twelve, and Jane Coe (“Jane”), age ten, live with their

parents, Jane Coe, Sr. and John Coe, Sr. in the Lansing School District in New York.

138.158.       John Coe, Sr.’s brother died from an adverse reaction to his two-month vaccines.

The cause of death was documented on the death certificate as having been from immunization

and, after a hearing, his estate received compensation from the National Vaccine Injury

Compensation Program.

139.159.       Several other family members have suffered severe reactions to vaccines as well.

140.160.       Before his brother died, John Coe, Sr. had a severe reaction to his childhood

immunizations. After John Coe, Sr.’s brother died, John Coe, Sr.’s sister was born and despite a

delayed immunization schedule, also had a negative reaction to her first childhood immunization.

John Coe, Sr.’s mother, a registered nurse, also had a severe reaction to the flu vaccine. John Coe,

Sr.’s cousin also died after administration of her childhood vaccines.

141.161.       John Coe, Sr., and his surviving sibling had medical exemptions from

immunization throughout the rest of their childhoods.

142.162.       Upon the advice of medical professionals and considering the family history, John

and Jane have never been vaccinated and have had exemptions since they were born.

143.163.       Both children have multiple food, environmental and drug allergies, and

precarious health.




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144.164.       The family sees a genetic counselor who has identified several genetic mutations

and markers that could explain the significant family pattern of adverse reactions and the

children’s predisposition towards health issues.

165.   In addition to a family history of vaccine injury and death, there is a family history of

numerous autoimmune and other conditions consistent with the genetic profile of the children.

145.166.       Jane and John’s disabilities significantly impair multiple major life functions,

including but not limited to functions of their immune systems.

146.167.       In August 2019, the parents submitted applications for medical exemptions

explaining the family history and the children’s medical history signed by a Dr. Christopher

Scianna, who is licensed to practice in New York.

147.168.       Dr. Scianna concluded that it was unsafe for either child to be vaccinated due to

their current states of vulnerable health and their genetic analysis and family history of significant

adverse vaccine reactions, including two deaths.

148.169.       The exemption application also attached a letter from the genetic counselor.

149.170.       The Lansing School District received the exemption letters and the children began

school as usual in fall 2019.

150.171.       On January 21, 2020, without warning, Jane Coe, Sr. received correspondence

from Chris Pettograsso, Superintendent of the Lansing School District, stating that “the building

principals” (Christine Rebera and Lorri Whiteman) had rejected the medical exemptions for both

children. The family was given one week to get eleven different vaccines for each child to return

to school.

172.   Defendant PettograssoThe Superintendent noted that the school had received a

recommendation from the NYSDOH and by unspecified members of a “medical team” locally



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but asserted that the building principals each ultimately made the decision to reject the medical

exemptions “independently.”                                                                            Formatted: Font color: Black


151.173.       Defendants Rebera and Whiteman did not directly communicate with the family

despite having been alleged to have “independently” made the determination to override their

chosen licensed physician’s advice.

152.174.       Attached to the letter from the school was a letter dated December 5, 2019 written

by Defendant Elizabeth Rausch-Phung, M.D., M.P.H., the Director of the Bureau of

Immunizations at the New York State Department of Health.

153.175.       Dr. Rausch-Phung stated that the adverse reactions of family members (including

death) are not contraindications for immunization under ACIP and concluded that she didn’t have

enough information or knowledge to understand if the genetic vulnerabilities were a ground for

contraindication. “tThere is not sufficient information included regarding the genetic testing

performed to conclude that vaccines required for school attendance would be contraindicated in

a child with variations in the reported SNPs. The specific source of the genetic tests, the results

of these tests, and review and recommendations of this child’s genetic findings by a medical

genetics specialist would be needed to determine if these results preclude this student from being

vaccinated.”

154.176.       Before rejecting the medical exemption, neither the school district nor Dr. Rausch-

Phung contacted the family or Dr. Scianna seeking any further information or requesting to

consult with the treating physician or geneticist.

155.177.       On January 27, 2020, the family submitted a letter from an attorney and the genetic

counselor explaining that the only pediatric genetic specialist in the region had a waiting list for

new patients of more than one year.



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156.178.       The attorney requested that the school district meet to discuss the denial or grant

the family a few months extension to try to expedite an appointment and satisfy Dr. Rausch-

Phung’s requirement that they provide a corroborating opinion written by a genetic specialist. She

also expressed concern with the legality of the process, stating,

           “I have serious concerns about the legality of this denial and process. Nothing in the
           law suggests that the family must retain the services of a specialist to be considered
           for an exemption. To the extent that the DOH isn’t sure about a medical precaution,
           they should defer to the treating physician and the family. Moreover, there are
           constitutional issues here involving the fundamental rights of the family to refuse
           medical treatment especially where the treating physician and providers concur that it
           could be dangerous to the children’s health. And particularly in a case like this, where
           the family has already had to suffer the death of more than one child due to vaccine
           reactions. To require such additional process is in my opinion unlawful and clear
           overreach.”
157.179.       On January 29, 2020, counsel for the Lansing School District emailed the Coe

family attorney denying the requests for a meeting or an extension, and stating:

           “finally, you cite your ‘serious concerns’ about the legality of the denial
           process’”…[relating to the NYSDOH recommendations]…However, this statement
           from a recommendation from the Department of Health was neither relied upon nor
           cited by the district in its decision to deny the medical exemption request.” No
           indication was given about an alternative reason for the denial other than that the
           building principals had allegedly “made the decisions independently.”

158.180.       Though the medical exemption was permanently denied in January 2020, and there

is no appeal pending, on May 4, 2020, the NYSDOH wrote Dr. Scianna seeking all of the

children’s medical records and noting that they were entitled to the full medical records of the

children whether or not the family consented.

159.181.       The intimidating letter from the NYSDOH vaguely references investigations and

appears to have been sent to deter the physician from writing any further medical exemptions.

182.   The children have been excluded from school since January 29, 2020. The burden on the

family and children of trying to homeschool while the parents work has been very difficult and

has caused the family significant economic and emotional damage.                                      Formatted: Font color: Black



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160.183.       The unconstitutional burdens faced by the Coe family all took place pursuant to

discretionary policies adopted by the Lansing School District and their final decision makers for

medical exemptions, which include by regulatory authority defendants Ribera and Whiteman, and

by policy and custom of the district, defendant Pettograsso. These policies were enabled by

unconstitutional regulations and guidance promulgated by the state level officials at the

Department of Health and defendant Rausch-Phung, who did not examine the children before

providing medical advice she admits is outside the scope of her knowledge or understanding.

                                             John Foe

161.184.       John Foe (“John”), age 11, was born with Hirschsprung’s Disease, a rare genetic

disease which prevents connections between the brain and gastrointestinal system from forming.

162.185.       As an infant, John had to undergo major gastrointestinal surgery during which

surgeons removed a section of his intestine and then reattached the system back together. He must

use a prosthetic colon system that needs to be inserted every night to keep him socially continent.

163.186.       The surgery profoundly affected John’s immune system. More than 70% of the

immune system is in the gastrointestinal system.

187.   John’s disabilities significantly impair multiple major life functions, including but not

limited to functions of his immune system.

164.188.       John suffers from a long list of severe allergies. He is so sensitive to chemicals and

metals that he cannot wear sunscreen or even drink tap water. When John drinks water that is not

filtered correctly, he has cramping, diarrhea, and bleeding rash around his rectum. He has

experienced the same type of reaction to dairy, fruit, and most antibiotics, among other triggers.

When antibiotics are necessary, John requires hospitalization to manage his adverse symptoms of




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vomiting, diarrhea and dehydration and requires concurrent administration of metronidazole to

minimize reaction symptoms.

165.189.       Another of John’s known triggers is immunization. John had a severe reaction to

immunization at age 3.

166.190.       John has not received any immunizations since the age of three on the advice of

his pediatrician, Dr. Kari Bovenzi, M.D. (“Dr. Bovenzi”). Due to his serious reaction to

immunization, and taking into consideration John’s medical history and his family medical

history (John’s mother suffered paralysis after receiving the DTaP shot), John’s doctor

determined that he was at substantial risk of having even more severe reactions to subsequent

immunization and recommended that he should not receive any more.

167.191.       On or about August 23, 2019, John’s family submitted a properly certified medical

exemption from Dr. Bovenzi, a physician licensed to practice medicine in New York, detailing

why John should be exempt from further immunization requirements. John’s parents spoke to the

school nurses and were told that all their paperwork was in order.

168.192.       On September 23, 2019, John’s mother received a call from the Albany City

School District Transportation Department letting her know that since John’s medical exemption

was denied, he would not be able to take the bus the next day. The family called the school, spoke

to the principal, defendant Michael Paolino, several school nurses and ultimately Assistant

Superintendent Lori McKenna.

169.193.       Ms. McKenna informed the family that John was no longer allowed to attend

school and that the medical exemption was being denied on the advice of the district physician,

Dr. Laura Staff. Ms. McKenna and Dr. Staff are under the supervision of defendant Kaweeda G.

Adams, who is the Superintendent of the Albany City School District.



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170.194.        John’s family would not immunize their son against medical advice. The school

district expelled John the same day. John has been unable to attend public school since September

23, 2019.

171.195.        John is a very social child and loved school. He was beloved by his classmates.

He was an honors student, an avid participant in marching band, chorus, chess club and running

club, and affectionately referred to as the “mayor” of his school.

172.196.        John also has special needs and qualified for and received critical services under a

504 plan at school.

173.197.        Following his expulsion from school, the district refused to provide John with

these services at home.

174.198.        Expulsion from school had a significant adverse impact on John. John developed

serious depression and was angry, confused and humiliated by his exclusion.

175.199.        John’s family hired an attorney and got extensive genetic testing for John. John

carries the MTHFR gene mutation from his maternal side and has several other genetic

vulnerabilities that reveal why immunization is particularly dangerous for him. John’s pediatrician

prepared a forty-page medical exemption, providing extensive detail about why John was at risk

of harm from further immunization. The exemption was submitted shortly before Thanksgiving,

2019.

176.200.        On January 3, 2020, the family received a letter from the school indicating that

they’d sent the exemption letter “to the CDC” for review and had determined that it did not meet

the criteria laid out in the ACIP guidelines and was therefore again denied. No detail was provided

about who reviewed the letter specifically or what their specific recommendations were based on.




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177.201.       Despite their deep roots in the area, and that their careers were centered in New

York, John’s family began making plans to leave the state.

178.202.       Before upending their lives and finding new careers, the family applied to private

school in the same district. The first private school they sent the exemption accepted it right away.

However, the tuition was too high for the family to handle. The second private school took a

month to review the application and accepted it and John has been attending this private school

since March 2020.

179.203.       Though the family is relieved to have a school option for John, it is significantly

impacting their lives and John’s educational opportunities to be denied the right to a free public

education. At private school, John is not receiving the services that he would be able to receive

in public school, and his family can ill afford to keep sending him there.

204.   John wants to return to his public school, where he was so at home and beloved.

180.205.       The unconstitutional burdens faced by John and his family all took place pursuant        Formatted: Indent: Left: 0", First line: 0"


to discretionary policies adopted by the Albany City School District and their final decision

makers for medical exemptions, which include by regulatory authority defendant Paolino, and by

policy and custom of the district, defendant Adams. These policies were enabled by

unconstitutional regulations and guidance promulgated by the state level officials at the

Department of Health.

                                             Jane Goe

181.206.       Jane Goe (“Jane”) is a seventeen-year old young woman who suffers from

multiple severe autoimmune conditions. Her diagnoses including Type I Diabetes, Celiac

Disease, Hashimoto’s Thyroiditis, Alopecia Areata and Polycystic Ovarian Syndrome.




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182.207.       Jane lives with her parents, Jane Goe, Sr., and John Goe, in the Penfield Central

School District.

183.208.       Jane’s disabilities significantly impair multiple major life functions, including but

not limited to functions of her immune system.

184.209.       Jane’s Type I Diabetes was triggered by the H1N1 vaccine in third grade. In rapid

succession, she continued to devolve after that event and developed four additional autoimmune

diagnoses, losing half of her hair, suffering chronic additional health issues, and missing

significant time in school when she was too sick to attend.

185.210.       Jane has a family history of serious autoimmune disease. Her genetic testing shows

significant vulnerabilities including the rare HLA genotype, which places her at a high risk of

developing Guillain-Barre syndrome (an acknowledged potential adverse reaction to the

meningococcal vaccine). Jane is very sensitive to chemicals. She has had serious adverse

reactions to chlorine and many other environmental exposures.

186.211.       Since sixth grade, Jane and her family have worked extensively with Jane’s

treating physician, Dr. Pamela Grover (“Dr. Grover”), who is licensed to practice medicine in

New York and who has been so engaged for more than twenty years and is well-regarded for her

expertise in autoimmune conditions.

187.212.       Dr. Grover worked diligently with the family to help Jane regain and maintain a

reasonable level of health. Jane avoids environmental triggers, must follow a restricted diet, and

is undergoing multiple therapies. She has not received additional vaccines since her adverse

reaction in third grade.

188.213.       On or about August 18, 2019, Dr. Grover submitted a duly certified medical

exemption from immunization, noting that Jane was suffering from a flare up of her acute



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autoimmune conditions and could not safely be immunized for at least one year or until her

autoimmune conditions were under control.

189.214.       Jane has had all her immunizations except for the meningococcal vaccine and a

fifth dose of the tetanus, pertussis and diphtheria containing vaccine.

190.215.       No component of any of these four vaccines protects anyone but the recipient.

191.216.       On September 11, 2019, Mark Sansouci, the Assistant Superintendent of the

Penfield Central School District, emailed Jane Goe, Sr. advising that the medical exemption for

Jane was being denied on the advice of the School District’s consulting doctor, Dr. Robert J. Tuite

(“Dr. Tuite”). Dr. Tuite is a pediatrician, who does not have expertise in any of the autoimmune

conditions from which Jane suffers. He is a paid consultant to the Penfield School District acting

under the supervision of defendant Thomas Putnam.

192.217.       Dr. Tuite’s email, which was forwarded in the same thread, stated that the request

was denied and that Jane would have had to have suffered Gullian-Barre Syndrome (which causes

paralysis) within six weeks of getting a vaccine and that “it is up to the parents and/or physician

to contact pediatric infectious disease/immunology or the DOH department of immunizations to

get the specialist’s input” for the exemption to be considered. Dr. Tuite noted that if Jane did not

submit a letter from a specialist within fourteen days, she would be excluded from school.

193.218.       With great difficulty, Jane’s mother was able to get an appointment with Dr. Craig

Orlowski (“Dr. Orlowski”), who has been practicing medicine for nearly forty years, serves as

an Associate Professor of Clinical Pediatrics at the University of Rochester Medical School, is

Chief of Pediatric Endocrinology the University of Rochester Golisano Children’s Hospital, is a

specialist and physician duly licensed in the state of New York and has published widely on many

of the autoimmune conditions that Jane suffers from. Dr. Orlowski agreed that it would be unsafe



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for Jane to receive immunizations at that time and wrote a letter supporting an exemption through

April of 2020.

194.219.         Dr. Orlowski’s exemption was submitted on or about September 18, 2019. Later

that same day, Jane’s mother received an email from defendant Thomas Putnam, the

Superintendent of the Penfield Central School District, forwarding another denial from Dr. Tuite,

which stated:

                  “Dr. Putnam, I have a lot of admiration for Dr. Orlowski as a
                 pediatric endocrinologist but quite frankly feel that he is out of his
                 scope of practice/expertise within this area of immunization issues.
                 Believe me that I am so busy right now with these immunization
                 concerns that it would be really easy to just accept this medical
                 exemption and move on. I still feel strongly that this request does
                 not meet the CDC contraindication or even a precaution from
                 getting these specific vaccines. I would highly recommend a referral
                 to either a pediatric infectious disease/immunology specialist such
                 as Dr. Geoffrey Weinberg at Golisano Children’s Hospital or an
                 immunologist such as Dr. Syed Mustafa…who both have a wealth of
                 experience and expertise in this area of immunization
                 appropriateness. I have in the past and would now honor and trust
                 their opinion and abide by their advice in these kind of complicated
                 situations.”

195.220.         Dr. Tuite is a pediatrician specializing in sports medicine. He has no specialized

training or certifications in vaccines or in any of the conditions that Jane suffers from and has

nowhere near the level of expertise in these matters that Dr. Orlowski does.

196.221.         The next day, Jane was removed from school as the fourteen days from the original

notice of denial had run. It was homecoming that day. The exclusion was public. Many people at

school were aware of the reason and mentioned that they knew that she was excluded because her

medical exemption had been denied. Jane was humiliated and felt that her privacy had been

seriously violated.




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197.222.       Jane’s mother showed Dr. Tuite’s email to Dr. Orlowski, who was so outraged that

he walked across the hall and presented it to his colleague Dr. Geoffrey Weinberg (“Dr.

Weinberg”), one of the two doctors that Dr. Tuite suggested were the only specialists that he

would consider fit to submit a medical exemption application.

198.223.       On or about September 20, 2020, Dr. Weinberg submitted a letter to Dr. Tuite

affirming the validity of his colleague Dr. Orlowski’s medical exemption request and

recommending that Dr. Tuite accept the medical exemption for Jane at least through the fall given

that she was having a flare of symptoms and was at risk of exacerbating her condition.

199.224.       Jane was allowed to attend her senior year of high school through the fall, but Dr.

Tuite indicated that she would need to be immunized by January 28, 2020 or she would be

removed from school.

200.225.       The family had to hire an attorney. The fall semester was bittersweet for Jane, who

suffered enormous stress at the idea that she would be removed from school in the spring

semester. Jane had been chosen to play a significant part in the spring play and was terrified that

she would not be able to graduate with her classmates or have to suffer another humiliating

removal from school and all the gossip and judgment that followed the first one.

201.226.       In January 2020, Jane’s family submitted a follow up medical exemption request,

written by Dr. Grover, which documented how the request fit into the ACIP guidelines.

202.227.       The request was sent on to the Department of Health for further review.

203.228.       Since this submission, Jane has not heard back, either with an acceptance or denial.

The stress on the family of wondering if Jane would be removed from school at any moment has

been enormous. Jane is set to graduate on July 30, 2020. Her speech has been chosen as the

commencement speech. Though this graduation is only a day away, Jane is terrified that just by



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joining this lawsuit she might be subjected to retaliation and denied the right to graduate with her

class.

229.     The financial and emotional burdens placed on Jane and her family this year have

irreparably impacted her emotional and physical health and her family’s wellbeing.

204.230.       The unconstitutional burdens faced by Jane and her family all took place pursuant

to discretionary policies adopted by the Penfield School District and their final decision makers

for medical exemptions, which include by regulatory authority Jane’s principal, and by policy

and custom of the district, defendant Putnam. These policies were enabled by unconstitutional

regulations and guidance promulgated by the state level officials at the Department of Health and

defendant Rausch-Phung, who did not examine the child before providing medical advice.

                                              John Joe

205.231.       John Joe (“John”) is a six-year-old boy who had a severe, life-threatening

anaphylactic reaction to his hepatitis B vaccine given at birth. He lives with his mother, Jane Joe,

who is a single mother without financial resources or support residing with her son in the Ithaca

City School District.

206.232.       John has special needs. He has severe autism, obsessive compulsive disorder, and

a range of neurological and other health problems. Medical tests show mercury poisoning, lead

poisoning and aluminum poisoning and an inability to process heavy metals. Jane has worked

extensively with medical professionals and with rigorous dietary and environmental protocols,

which have greatly improved her son’s quality of life and health over the years. Nonetheless, his

health is fragile, and setbacks are common.

207.233.       On the advice of his treating physicians, John has had a medical exemption to all

immunization since the anaphylactic reaction at birth.



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208.234.         John’s disabilities significantly impair multiple major life functions, including but

not limited to functions of his immune system.

209.235.         In 2018, John and Jane moved to the Ithaca City School District. John’s treating

pediatrician in Ithaca, Dr. Jessica Casey, a physician licensed to practice medicine in New York,

reviewed John’s case and wrote a medical exemption for John, indicating her recommendation

that he be exempt from all immunizations on a permanent basis.

210.236.         Jane submitted Dr. Casey’s medical exemption to the Ithaca City School District

in the fall of 2018, and John completed that school year without issue.

211.237.         In the summer 2019, Jane obtained a renewed medical exemption from Dr. Casey

and submitted it again without issue. John attended his summer programming for children with

special needs and began his first-grade year in elementary school in the fall.

212.238.         In November, 2019, without warning, the Superintendent of the Ithaca City School

District, defendant Dr. Luvelle Brown, signed a letter to Jane letting her know that her medical

exemption request was partially denied, and she had to get her son immunized within a week or

her son would be expelled from school.

213.239.         Jane met with Dr. Brown to beg him to reconsider, explaining that her son had

always had a medical exemption to all further immunization and that multiple physicians had

indicated that further immunization would be unsafe for him.

214.240.         Dr. Brown, who is not a medical professional or scientist, stated that it was out of

his hands, and that as far as he understood, John would need to have an anaphylactic reaction to

each vaccine in order to be exempt from the additional mandates. Defendant Susan Esbasch, the

principal of the school who is by statute supposed to make this decision, did not contact the mother

or the doctor.



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215.241.        John was removed from school in November of 2019. His mother has had to quit

her job, go on public assistance, and now attempts to attend to all her son’s needs on her own.

242.   Before he was removed from school, John had an Individualized Educational Plan, which

entitled him to extensive needed services, such as speech therapy five days a week, occupational

therapy three times a week, music therapy and play therapy. The Ithaca City School District has

refused to provide any of these services at home as they do for other special needs children who

are homeschooling.

243.   John has a pending appeal to the Commissioner of Education which as of yet still has not

been decided.

216.244.        The unconstitutional burdens faced by John and his family all took place pursuant

to discretionary policies adopted by the Ithaca City School District and their final decision makers

for medical exemptions, which include by regulatory authority defendant Esbasch, and by policy

and custom of the district, defendant Brown. These policies were enabled by unconstitutional

regulations and guidance promulgated by the state level officials at the Department of Health and

defendant Rausch-Phung, who did not examine the child before providing medical advice.

                               Jane Koe, John Koe and Janie Koe

217.   Jane Koe (age 14), John Koe (age 11) and Janie Koe (age 5) live with their parents, Jane

Koe, Sr. and John Koe, Sr. in the Shenendehowa Central School District in New York. Jane Koe

and John Koe both suffer from serious autoimmune and other chronic health issues believed to

have been triggered by their childhood immunizations.

218.

219.   Jane received her normal schedule of vaccines until she suffered a severe reaction to her

one-year immunizations just before her first birthday. Pain and hardness at the injection site led



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to uncontrollable high fever which would not subside for over a week. Within days, Jane lost her

ability to walk. She spent her first birthday in the hospital and ended up having to undergo

extensive medical treatment including surgery.

220.   At age three, Jane developed migraines so severe that she was repeatedly in and out of the

emergency room throughout childhood and has missed substantial school, spending a number of

years on homebound instruction due to her illness. Jane suffers from crippling arthritis, serious

heart issues, numbness that leads to an inability to breathe and frequent autoimmune conditions.

Jane’s bloodwork reveals markers indicating Sjograns Syndrome and/or Lupus, both

inflammatory autoimmune conditions which immunizations can trigger and make worse.

221.   John received his hepatitis B shot the day he was born. He immediately developed eczema

and serious ongoing gastrointestinal issues along with neurological tics. Like his sister, John has

had to spend substantial time out of school and in the ER due to his health issues and had to be

educated through home instruction due to illness.

222.   In or around 2014, John’s gastrointestinal issues became so bad that he had uncontrollable

explosive diarrhea for over a year. For several years, the family was in and out of the emergency

room for one child or the other every few weeks.

223.   In 2018, John was diagnosed with two forms of juvenile autoimmune arthritis and his

family was informed that he will likely end up in a wheelchair. Juvenile autoimmune arthritis is

a recognized adverse reaction to immunization.

224.    John’s cousin has the same condition. He was treated with chemotherapy drugs and ended

up having liver failure as a child.

225.   The family history reveals significant vulnerability for autoimmune disease and cancers

as well as adverse vaccine reactions.



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226.   Janey Koe, the only one of the three children who has never been vaccinated, has no health

issues.10. Jane Koe, Sr. has been able to mitigate some of the symptoms of her older children’s

autoimmune conditions through rigorous diet modifications (the children have to stay on a gluten

free and vegan diet) and the avoidance of known triggers, including immunization.

227.   The children are under the care of a nurse practitioner, Melanie Clark, R.N./N.P. who is

familiar with the children’s treatment and has documented an improvement in the children’s

health as a result of the diet and lifestyle adjustments the family has made.

228.   N.P. Clark agrees that immunization could harm the children and, before the start of

school in 2019, wrote a letter seeking medical exemption for each of the three children.

229.   The Superintendent of the Shenendehowa Central School District rejected the exemptions,

stating that they had to be signed by a medical doctor. The doctors in the practice refused to sign

the forms and refused to even evaluate the children despite the treating nurse practitioner’s

assessment. As a result, the School District advised Jane Doe that her children had to withdraw

from school.

230.   The District asked Jane Doe, Sr. to sign forms indicating that she was voluntarily

removing her children from school.

231.   Jane Doe, Sr. objected, responding that her children were being involuntarily expelled and

explaining that she was providing her children with home school education under duress and

unwilling to sign forms stating this was voluntary.

232.   The Shenendehowa Central School District retaliated by filing a child abuse and neglect        Formatted: No bullets or numbering


complaint against Jane Doe, Sr. with Child Protective Services (“CPS”) hotline, causing the

family to endure an invasive CPS investigation. No formal report was issued, but as a result, the

family now feels vulnerable and “in the system.” .



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                                           John Loe

245.   John Loe (“John”) is a fifteen-year-old boy diagnosed at around age 7 by pediatric

neurologist Rosario Trifiletti, M.D., Ph.D. (“Dr. Trifeletti”) with two forms of autoimmune

encephalitis: Pediatric Acute-Onset Neuropsychiatric Syndrome (“P.A.N.S.”) and later (August

2013) with a dual diagnosis of Hashimoto’s Encephalopathy.

233.246.       John suffers from disabilities which significantly impair multiple major life

functions, including but not limited to functions of his immune system.

234.247.       John lives with his parents, Jane Loe and John Loe, Sr., and attends a Catholic

college preparatory school in the neighboring South Huntington School District.

235.248.       Since his first day of life and for the next several years, John was vaccinated in

strict accordance with pediatric directives, apparently pursuant to New York State mandates based

on ACIP guidelines, plus all of the influenza (“flu”) and H1N1 flu vaccines strongly

recommended. Through the years, John suffered unexplained “phases” of odd behavioral and

health issues. Later review of the medical file revealed that these phases closely tracked his

immunizations.

236.249.       At age 5, on or about October 9, 2009, John was vaccinated with the DTaP and flu

shots, and then received two H1N1 vaccines over the course of the next weeks. Following the

2009 vaccines, John appeared to decompensate more sharply than prior “phases” his parents had

noticed in previous years.

237.250.       At age 6, on October 27, 2010, John received a flu vaccine, and the above

referenced symptoms heightened further still, to a more severe degree than his parents had ever

seen. Teachers noticed that something was wrong, but John’s health seemed to improve over the

course of the year.



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238.251.       At age 7, on October 18, 2011, John had another flu vaccine at his pediatrician’s

behest. Over these next days, weeks and months John’s health drastically deteriorated. He began

to experience debilitating tics and compulsions, which would occur simultaneously, appearing

intertwined and a terrible waterfall of symptoms and behaviors. He repeatedly clapped his hands

so hard next to his ear that he was later diagnosed with self-inflicted hearing damage, had

terrifying panic attacks in public, banged his head and suffered extreme general anxiety, extreme

separation anxiety, and extreme school anxiety. He developed obsessive-compulsive disorder,

and suffered loss of penmanship, math, reading and writing skills and toileting skills.

239.252.       Things worsened still when he became nearly anorexic, refusing more and more

foods until he was down to a sip of water and a bite of saltine cracker a day. He began having

quasi-hallucinations, experiencing intense fear to a debilitating degree. He grew increasingly sad,

which apparently evolved into grave depression, as he said, “I want to kill my life.”

240.253.       At this point, his bewildered parents grew from wondering what was happening to

their child to being terrified beyond words. In 2012, the parents got an appointment with Dr.

Trifiletti, who is a well-respected pediatric neurologist.

241.254.       Dr. Trifiletti diagnosed John with P.A.N.S./P.A.N.DA.S. a form of autoimmune

encephalopathy, which was confirmed upon his analysis of comprehensive bloodwork reports.

The parents complied with the recommended immune modulating treatments of Dr. Trifiletti.

Within 24 to 48 hours, John began eating again, his hallucinations stopped, and slowly over time,

many other symptoms improved.

242.255.       Dr. Trifiletti was able to stabilize John’s neurological and autoimmune condition

slowly with the medications, ongoing monitoring and testing, and avoidance of known triggers,

such as exposure allergens, toxins, and vaccines.



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243.256.         Under Dr. Trifiletti management of John’s condition he fared relatively well,

compared to many with his diagnoses. Though John never made it back to “baseline” symptoms-

wise, and though he still suffers setbacks, he has remained highly functional.

244.257.         In August 2012, when Dr. Trifiletti began treating John, he was not due for any

further school-mandated vaccinations, already being fully “up to date.”

245.258.         When John reached 6th grade (fall 2015), the school nurse advised that the Tdap

was required to remain in school. Dr. Trifiletti, advised that a medical exemption was medically

indicated for John as to “all vaccines”. The exemption was accepted without issue. John’s family

submitted subsequent medical exemptions from Dr. Trifiletti for 7th, 8th, and 9th grade, also

without issue.

246.259.         In August 2019 Dr. Trifiletti signed an updated medical exemption, which the

parents submitted to John’s school in mid-September 2019.

247.260.         Shortly thereafter, the school nurse contacted the parents to advise that their

school’s “chief doctor,” Dr. Jack Geffken (“Dr. Geffken”) rejected Dr. Trifiletti’ s exemption

after speaking with him on the phone.

248.261.         After this phone call, Dr. Trifiletti, who had been treating John since he was seven

years old, told John’s parents that he could no longer treat John. He behaved oddly and as if he

was frightened. Months after dropping John as a patient, Dr. Trifiletti followed up with a stiff

letter that made no sense, given that John was no longer a patient, indicating the benefits of

vaccines and contradicting years of documented medical advice about the risks that they pose to

John specifically.

249.262.         John was removed from school on September 20, 2019 and has not been able to

return since.



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250.263.       For the remainder of fall 2019, the family’s life revolved around the uphill battle

of trying to get John back into school and to find a new specialist. There are few specialists with

expertise sufficient to treat John’s conditions and the waiting lists are long for all of them. John’s

health and academics declined dramatically.

251.264.       In November 2019, the Loes obtained an appointment with specialist, Dr. Denis

Bouboulis, an immunologist licensed to practice in New York, who is experienced and revered

in the PANS/Autoimmune Encephalitis community.

252.265.       Dr. Bouboulis concurred that it would be unsafe for John to receive the Tdap or

meningococcal vaccines. Accordingly, on or about November 14, 2019, he provided two written

medical exemptions (the school adamantly insisted there had to be a separate form for each

vaccine in question, which misstates the requirement of setting forth the bases as to each vaccine).

253.266.       Months of bureaucratic delay ensued.

254.267.       First, the school advised that the district doctor, Dr. Geffken, declined the Medical

Exemptions because it was on the “wrong form.” Dr. Bouboulis’s office had utilized the current

New York City DOH forms, believing that to be the most currently required New York form, and

the parents were unable to suggest otherwise, as they were neither present while it was completed,

nor aware of more than one form version (NYC vs. State). The NYC form is more comprehensive

than the New York State form and includes all the same information as the state form.

255.268.       John’s parents pleaded for more time to have the doctor redo the forms on the New

York State form, which was begrudgingly granted. They then undertook ongoing and diligent

efforts to arrange for the doctor to transfer the information to the New York State forms, but had

difficulty getting a response. They eventually were told by staff that during that time, Dr.

Bouboulis had received a call from the NYSDOH, directing that he could not write any further



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New York medical exemptions “unless he was the doctor who administered the vaccinations,”

and that therefore, he would not be signing any more. Nothing in the law or regulations supports

this limitation on physicians.

256.269.       At their next medical appointment with Dr. Bouboulis, in early December 2019,

Dr. Bouboulis reiterated what the staff had said. The Loe’s showed Dr. Bouboulis legal analysis

from counsel and the text of the statute contradicting the NYSDOH erroneous information. To

the extent that Dr. Bouboulis was merely transferring information from the NYC forms to the

New York State forms as requested by the school, and not issuing anything anew (post-handling),

he agreed to prepare the new forms. These comprised what was now the third medical exemption

submission to the school since the school year began.

270.   On January 7, 2020, the parents received an email from the principal stating that due to

information contained in an attached letter recommending a denial of the exemption from Dr.

Geffken, John would be unable to continue as a student there. The principal had advised all of

John’s teachers and departments, including the Registrar, of the reason, and that he would keep

the family in his prayers.                                                                          Formatted: Font: (Default) +Headings (Times New Roman),
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257.271.       Dr. Geffken will not consider anything other than the ACIP contraindications and

has narrowed the criteria for medical exemptions substantially beyond even what the state

defendants promulgated in the new regulations.

258.272.       John has all his immunizations except for a final booster dose of the Tdap vaccine

(tetanus, diphtheria, and pertussis) and the meningococcal vaccine (meningitis).

259.273.       No component of any of these four vaccines protects anyone but the recipient.

260.274.       The impact of John’s school expulsion upon his family and him has been severe.




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261.275.         John’s medical condition has made his life unbearable at times. A hallmark of his

condition is severe social anxiety. John was just at a point of recovering enough health to begin to

develop confidence. He was doing well in school. He was getting recognition for his music and

was excited to be in several school bands. He was finally overcoming some of his social anxiety

and making friends.

262.276.         John’s confidence and the progress he’s made have also been shattered. He has

become very depressed and is not able to keep up with his home studies.

263.277.         John’s college prospects and the course of his life have been substantially altered

for the worse. His parents work full time and home instruction has not been successful.

Additionally, John was forced to miss the P.S.A.T. preparation and test that 10 th graders take at

school.

278.      John feels hopelessly lost and his depression and anxiety have become debilitating. His

mother has been in touch with a few psychologists who can provide counseling about his situation,

feelings, and homeschooling encouragement, but John refuses to engage and has shut down to an

alarming degree.                                                                                       Formatted: Font color: Black


264.279.         The unconstitutional burdens faced by John and his family all took place pursuant

to discretionary policies adopted by the South Huntington School District, St. Anthony’s School

and their final decision makers for medical exemptions, which include by regulatory authority

defendant Brother Migliorino, and by policy and custom of the district, defendant Bennardo.

These policies were enabled by unconstitutional regulations and guidance promulgated by the

state level officials at the Department of Health.

    MEDICALLY FRAGILE CHILDREN ACROSS THE STATE ARE BEING
    SUBJECTED TO SIMILAR BURDENS AND TREATMENT




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265.280.       The stories of the named plaintiffs illustrate a wider pattern and practice that

   arbitrarily excludes most medically fragile children from obtaining medical exemptions in

   New York.

266.281.       They provide typical detail about how the new regulations narrowing New York’s

   medical exemption from mandatory school immunization, and the policies, procedures and

   practices adopted by the defendants in implementing them are too restrictive. Instead of

   helping medically fragile children, these practices are subjecting medically fragile children

   and their families to extensive harm, including the threat of unsafe medical interventions,

   enormous stress, and severe financial, emotional and documentary burdens.

267.282.       The ACIP contraindications and precautions are not comprehensive and were

   never meant to be an exhaustive list of reasons for a physician to determine that one or more

   of the vaccines are dangerous for a child.

268.283.       Dr. Andrew Kroger from CDC’s Immunization Services Division emphasized this

   point in reply to an email from plaintiff Jane Doe asking for clarification on the ACIP

   guidelines and their role in defining medical exemptions. He stated: “The ACIP guidelines

   were never meant to be a population-based concept…The CDC does not determine medical

   exemptions. We define contraindications. It is the medical providers prerogative to determine

   whether this list of conditions can be broader to define medical exemptions.” Email from Dr.

   Kroger to Jane Doe sent December 28, 2019.

269.284.       The ACIP contraindications only allow “contraindicate” immunization for four

   narrow circumstances:

           a. The child suffered near fatal anaphylactic shock or a coma within a short period

               after receiving a vaccine (which only qualifies the child for an exemption from the



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               triggering vaccine(s) and requires that a child continue to submit to the other

               vaccines until or unless he has suffered near fatal anaphylactic shock to each one

               shortly after it’s administration);

            b. The child has a narrow category of severe immunodeficiency (certain pediatric

               cancers but only during active chemotherapy, HIV, organ transplant) (which only

               qualifies the child for exemption from certain live vaccines);

            c. The child developed encephalopathy within seven days after immunization with

               diphtheria, tetanus and pertussis containing vaccines (which only qualifies the

               child for further exemption from those specific vaccines); and

            d. The child developed intussusception after rotavirus vaccine (which only qualifies

               the child for an exemption from further rotavirus vaccine).

270.285.       The ACIP precautions expand the category of children who should be exempt.

   However, the precautions are vague, complex and are subject to interpretation which often

   results in inconsistent results.

271.286.       Moreover, many consulting physicians including Dr. Rausch-Phung from the

   NYSDOH appear to be judging medical exemption requests solely on whether they comport

   with ACIP contraindications, ignoring conditions that fall under precautions entirely.

272.287.       Even if the precautions were honored, the ACIP guidelines are too narrow.

   Hundreds of additional adverse reactions have been recognized even by the vaccine

   manufacturers themselves, and hundreds of additional well-established medical reasons may

   cause a child to be at risk of harm from one or more of the childhood immunizations.

           ACIP Doesn’t Cover Most Harms Recognized in Vaccine Package Inserts




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273.288.       The ACIP contraindications do not even cover most of the harms recognized and

   published in the vaccine package inserts by the vaccine manufacturers.

274.289.       After licensure, the law requires vaccine manufacturers to include in the package

   insert for their product “only those adverse events for which there is some basis to believe

   there is a causal relationship between the drug and occurrence of the adverse event.” 21 C.F.R.

   201.57(c)(7).

275.290.       The number of conditions recognized by manufacturers that ACIP does NOT

   cover is staggering. The following list, meticulously compiled by plaintiff Children’s Health

   Defense, highlights the few “contraindicated” ACIP list conditions among all listed vaccine

   adverse reactions and conditions in marketed vaccines:



           Vaccine Package Inserts: Post-Marketing Experience
               Blood and lymphatic system disorders
   ●   Anemia, aplasic or hemolytic (Pneumovax-23, ProQuad, Varivax)
   ●   Autoimmune hemolytic anemia (Gardasil/Gardasil 9)
   ●   Epistaxis [nosebleed] (ProQuad)
   ●   Extravasation blood (ProQuad)
   ●   Hematochezia [bloody stools] (ProQuad, Rotarix, RotaTeq)
   ●   Increased erythrocyte sedimentation rate (Recombivax)
   ●   Leukocytosis (MMR-II, Pneumovax-23)
   ●   Lymphadenitis (Boostrix, Pneumovax-23, ProQuad)
   ●   Lymphadenopathy, including regional [enlarged lymph nodes] (Boostrix, Daptacel, DT, Fluad, Fluarix,
       Flulaval, FluzoneQ and FluzoneHD, Gardasil/Gardasil 9, Infanrix, IPV, Kinrix, MMR-II, PedvaxHIB,
       Pneumovax-23, Prevnar-13, ProQuad, Tenivac)
   ●   Thrombocytopenia, including severe [low platelets] (Afluria, Engerix-B, Fluad, FluzoneQ and
       FluzoneHD, Havrix, Infanrix, Kinrix, MMR-II, Pneumovax-23, ProQuad, Recombivax, Twinrix, Vaqta,
       Varivax)
   ●   Thrombocytopenic purpura, idiopathic (ITP) (Gardasil/Gardasil 9, Rotarix, Twinrix, Varivax)

               Cardiac disorders

   ●   Cyanosis [bluish discoloration] (Daptacel, Hiberix, Infanrix, Pediarix, Pentacel, Prevnar-13, Quadracel)
   ●   Myocarditis [inflammation of heart muscle] (Adacel, Boostrix)
   ●   Palpitations (Engerix-B, Twinrix)
   ●   Pericarditis [inflammation of pericardium] (FluMist)
   ●   Tachycardia [abnormally high heart rate] (Engerix-B, Fluarix, Recombivax, Twinrix)




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               Congenital

   ●   Congenital anomaly (Havrix)


               Death

   ●   Death (Gardasil/Gardasil 9, MMR-II, Rotarix, RotaTeq)
   ●   SIDS (Infanrix)


               Ear and labyrinth disorders

   ●   Ear pain (Engerix-B, Infanrix, ProQuad, Twinrix)
   ●   Nerve deafness (MMR-II, ProQuad)
   ●   Otitis media (MMR-II)
   ●   Tinnitis (Engerix-B, Recombivax, Twinrix)
   ●   Vertigo (Engerix-B, Fluarix)


               Eye disorders

   ●   Conjunctivitis (Engerix-B, Fluarix, MMR-II, Recombivax, Twinrix)
   ●   Eye irritation (Fluarix, ProQuad)
   ●   Eye pain (Fluarix, Flulaval)
   ●   Eye redness (Fluarix)
   ●   Eye swelling (Bexero, Fluarix)
   ●   Eyelid swelling (Fluarix, ProQuad)
   ●   Keratitis [cornea inflammation] (Engerix-B)
   ●   Ocular hyperemia [eye inflammation] (FluzoneQ and FluzoneHD)
   ●   Ocular palsies (MMR-II, ProQuad)
   ●   Optic neuritis/neuropathy, papillitis (Engerix-B, FluzoneQ and FluzoneHD, MMR-II, ProQuad,
       Recombivax, Twinrix)
   ●   Photophobia (Flulaval)
   ●   Retinitis, necrotizing retinitis (MMR-II, ProQuad, Varivax)
   ●   Retrobulbar neuritis (MMR-II, ProQuad)
   ●   Uveitis [eye inflammation] (Recombivax)
   ●   Visual disturbances (Engerix-B, Recombivax, Twinrix)


               Gastrointestinal disorders

   ●   Abdominal pain or discomfort (Fluarix, ProQuad)
   ●   Candidiasis (ProQuad)
   ●   Constipation (Recombivax)
   ●   Diarrhea (Daptacel, FluMist, FluzoneHD, MMR-II, Pediarix, Pentacel)
   ●   Dyspepsia (Engerix-B, Twinrix)
   ●   Dysphagia [swallowing difficulties] (Flulaval)
   ●   Gastroenteritis (Rotarix, RotaTeq)
   ●   Intussusception and recurrent intussusception (including fatal) (Rotarix, RotaTeq) ((ACIP would allow
       exemption from further immunization with rotavirus vaccine only)
   ●   Mouth ulcers (ProQuad)


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   ●   Nausea (Daptacel, DT, Fluarix, FluMist, FluzoneHD, Gardasil/Gardasil 9, MMR-II, Pneumovax-23,
       TDVAX)
   ●   Pancreatitis (Gardasil/Gardasil 9, MMR-II)
   ●   Swelling of the mouth, throat, and/or tongue (Fluarix)
   ●   Vomiting (Flulaval, FluMist, FluzoneQ and FluzoneHD, Gardasil/Gardasil 9, MMR-II, Pediarix, Pentacel,
       Pneumovax-23, Tenivac)


               General disorders and administration site conditions

   ●   Abnormal gait (Flulaval)
   ●   Apathy (ProQuad)
   ●   Asthenia [fatigue, weakness] (Fluarix, Flulaval, FluzoneQ and FluzoneHD, Gardasil/Gardasil 9, Infanrix,
       Pediarix, Tenivac)
   ●   Body aches (Fluarix)
   ●   Chest pain (Fluarix, Flulaval, FluzoneQ and FluzoneHD)
   ●   Chills (Fluarix, FluzoneHD, Gardasil/Gardasil 9)
   ●   Decreased limb mobility (Pneumovax-23)
   ●   Feeling hot (Fluarix)
   ●   Fever (MMR-II, Pneumovax-23)
   ●   Injected limb—extensive swelling (ActHIB, Bexero, Hiberix)
   ●   Injection site abscess (Adacel, Daptacel, Fluarix, Flulaval, PedvaxHIB, Pentacel, Quadracel)
   ●   Injection site bruising (Adacel, Flulaval)
   ●   Injection site cellulitis (Afluria, Daptacel, Fluad, Fluarix, Flulaval, Pediarix, Quadracel, Tenivac)
   ●   Injection site reactions: mass, pain, warmth (Adacel, Afluria, Bexero, Boostrix, Daptacel, DT, Engerix-
       B, Fluad, Fluarix, Flucelvax, Flulaval, Havrix, Hiberix, Infanrix, IPV, Kinrix, MMR-II, Pediarix, Pentacel,
       Pneumovax-23, Prevnar-13, ProQuad, Quadracel, TDVAX, Tenivac, Twinrix)
   ●   Injection site rash (Daptacel, Flulaval, IPV, Prevnar-13)
   ●   Listlessness (Quadracel)
   ●   Malaise (Gardasil/Gardasil 9, MMR-II, Pneumovax-23, TDVAX, Twinrix)
   ●   Peripheral edema (ActHIB, MMR-II, Pneumovax-23, ProQuad, TDVAX, Tenivac, Varivax)
   ●   Pyrexia (TDVAX)
   ●   Swelling (MMR-II, ProQuad)
                Hepatobiliary and liver disorders

   ● Elevation of liver enzymes (Recombivax)
   ● Hepatitis (Havrix, Twinrix)
   ● Jaundice (Havrix, Twinrix)

               Immune system disorders

   ● Allergic reactions/hypersensitivity (ActHIB, Adacel, Afluria, Bexero, Boostrix, Daptacel, Engerix-B,
       Fluarix, Flublok, FluMist, FluzoneQ and FluzoneHD, Hiberix, Infanrix, IPV, Kinrix, Pediarix, Pentacel,
       Quadracel, Recombivax, Tenivac, Trumenba, Twinrix)
   ●   Anaphylactic and anaphylactoid reactions, including shock (ActHIB, Adacel, Afluria, Bexero, Boostrix,
       Daptacel, Engerix-B, Fluad, Fluarix, Flublok, Flucelvax, Flulaval, FluMist, FluzoneQ and FluzoneHD,
       Havrix, Hiberix, Infanrix, IPV, Kinrix, MMR-II, Pediarix, Pentacel, Pneumovax-23, Prevnar-13, ProQuad,
       Quadracel, Recombivax, RotaTeq, Tenivac, Trumenba, Twinrix, Varivax)(ACIP would only allow
       exemption from the triggering immunization only)
   ●   Angioedema, angioneurotic edema [swelling beneath skin] (ActHIB, Adacel, Boostrix, Daptacel, Engerix-
       B, Fluad, Fluarix, Flucelvax, Flulaval, FluMist, FluzoneQ and FluzoneHD, Havrix, Hiberix, Infanrix,
       Kinrix, MMR-II, Pediarix, PedvaxHIB, Pneumovax-23, Prevnar-13, ProQuad, RotaTeq, Tenivac, Twinrix,
       Varivax)


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   ● Edema (Adacel)
   ● Hypotension (Adacel)
   ● Serum sickness (Afluria, Engerix-B, Fluarix, Havrix, Pneumovax-23, Recombivax, Twinrix)

               Infections and infestations

   ●   Atypical measles (MMR-II, ProQuad)
   ●   Bronchitis (Infanrix, ProQuad)
   ●   Cellulitis (Daptacel, Infanrix, Pneumovax-23, ProQuad, TDVAX, Varivax)
   ●   Chills (Havrix, Twinrix)
   ●   Early-onset Hib disease (PedvaxHIB)
   ●   Herpes simplex (ProQuad)
   ●   Herpes zoster (Engerix-B, ProQuad, Recombivax, Twinrix, Varivax)
   ●   Infection (ProQuad)
   ●   Influenza, influenza-like illness (Afluria, Flulaval, Havrix, ProQuad)
   ●   Invasive Hib disease (Pentacel)
   ●   Kawasaki disease (Rotarix, RotaTeq)
   ●   Laryngitis (Flulaval)
   ●   Measles (ProQuad)
   ●   Measles-like rash (MMR-II)
   ●   Meningitis, aseptic meningitis, eosinophilic meningitis (Engerix-B, FluMist, MMR-II, Pentacel,
       ProQuad, Twinrix, Varivax)
   ●   Pharyngitis (Fluarix, FluzoneHD, Varivax)
   ●   Pneumonia, pneumonitis (MMR-II, ProQuad, Varivax)
   ●   Pulmonary congestion (ProQuad)
   ●   Respiratory tract infection (Infanrix, Pediarix, ProQuad)
   ●   Rhinitis (Fluarix, Flulaval, FluzoneHD, Havrix, MMR-II, Pentacel, ProQuad)
   ●   Secondary bacterial infections of skin and soft tissue (Varivax)
   ●   Sinusitis (ProQuad)
   ●   Skin infection (ProQuad)
   ●   Sore throat (MMR-II, ProQuad)
   ●   Tonsillitis (Fluarix)
   ●   Transmission of vaccine virus strains to non-vaccinated (RotaTeq)
   ●   Varicella (vaccine strain) (ProQuad, Varivax)
   ●   Varicella-like rash (ProQuad)
   ●   Viral infection (Pentacel)


               Investigations

   ● Abnormal liver function tests (Engerix-B, Twinrix)
   ● Increased serum C-reactive protein (Pneumovax-23)

               Metabolic disorders

   ●   Decreased appetite (Pentacel)
   ●   Diabetes mellitus (MMR-II)
   ●   Mitochondrial encephalomyopathy/Leigh syndrome exacerbation [neurometabolic disorder] (FluMist)


               Musculoskeletal and connective tissue disorders



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   ●   Arthralgia (Boostrix, Engerix-B, FluzoneHD, IPV, MMR-II, Pneumovax-23, ProQuad, Recombivax,
       TDVAX, Twinrix)
   ●   Arthritis (Engerix-B, Flulaval, MMR-II, Pneumovax-23, ProQuad, Recombivax, Twinrix)
   ●   Back pain (Boostrix)
   ●   Hypotonia (Prevnar-13)
   ●   Lupus-like syndrome (Recombivax)
   ●   Muscle spasm (Adacel)
   ●   Muscle weakness (Engerix-B, Fluad, Flulaval, Recombivax, Twinrix)
   ●   Musculoskeletal pain (ProQuad)
   ●   Musculoskeletal stiffness (Havrix)
   ●   Myalgia (Boostrix, IPV, MMR-II, ProQuad, TDVAX, Tenivac)
   ●   Myositis (Adacel)
   ●   Pain in extremities (Fluarix, FluzoneQ and FluzoneHD, Pediarix, Recombivax, TDVAX, Tenivac)
   ●   Systemic lupus erythematosus (SLE) (Recombivax)


               Nervous system disorders

   ●   Acute disseminated encephalomyelitis (ADEM) (MMR-II, ProQuad)
   ●   Ataxia (MMR-II, ProQuad, Varivax)
   ●   Bulging fontanelle (Pediarix)
   ●   Cerebellar ataxia (Vaqta)
   ●   Convulsions/seizures (ActHIB, Adacel, Afluria, Boostrix, Daptacel, DT, Fluad, Fluarix, Flulaval,
       FluzoneQ and FluzoneHD, Havrix, Hiberix, IPV, Kinrix, MMR-II, Quadracel, Recombivax, TDVAX,
       Twinrix, Varivax)
   ●   Depressed level of consciousness (Boostrix, Pediarix, Pentacel)
   ●   Dizziness (Fluarix, Flulaval, FluzoneQ and FluzoneHD, Havrix, MMR-II, ProQuad, TDVAX, Tenivac,
       Varivax)
   ●   Encephalitis, vaccine-induced encephalitis [brain inflammation] (Boostrix, Engerix-B, FluMist, MMR-
       II, Pediarix, Recombivax, Twinrix, Vaqta, Varivax) (ACIP will only allow exemption from further
       vaccination with the triggering vaccine)
   ●   Encephalomyelitis [inflammation of brain and spinal cord] (Afluria, Fluad, Fluarix, FluzoneQ and
       FluzoneHD)
   ●   Encephalopathy [brain disease] (Afluria, Engerix-B, Flulaval, Havrix, Infanrix, MMR-II, ProQuad,
       Twinrix)
   ●   Facial palsy, Bell’s palsy (Adacel, Boostrix, Engerix-B, Fluarix, FluMist, FluzoneQ and FluzoneHD,
       ProQuad, Recombivax, Twinrix, Varivax)
   ●   Facial (or cranial) nerve paralysis (Flulaval)
   ●   Facial paresis [impaired movement] (Fluarix)
   ●   Febrile convulsions/seizures (Afluria, Daptacel, FluzoneQ and FluzoneHD, IPV, MMR-II, PedvaxHIB,
       Pneumovax-23, ProQuad, Quadracel, Recombivax)
   ●   Guillain-Barré syndrome (Adacel, Afluria, Engerix-B, Fluad, Fluarix, Flulaval, FluMist, FluzoneQ and
       FluzoneHD, Havrix, MMR-II, PedvaxHIB, Pneumovax-23, ProQuad, Recombivax, Tenivac, Vaqta,
       Varivax)
   ●   Headache (DT, Infanrix, IPV, MMR-II, ProQuad, TDVAX, Twinrix)
   ●   Hypoesthesia [decreased tactile sensitivity] (Adacel, Engerix-B, Fluarix, Flulaval, Havrix, Recombivax,
       Twinrix)
   ●   Hypokinesia [loss of muscle movement] (Flulaval)
   ●   Hypotonia [low muscle tone] (Daptacel, Hiberix, Infanrix, Pediarix, Quadracel)
   ●   Hypotonic-hyporesponsive episode to immunization (HHE) (Daptacel, Hiberix, Kinrix, Pediarix,
       Pentacel, Quadracel)
   ●   Lethargy (Pediarix)
   ●   Limb paralysis (Flulaval)
   ●   Measles inclusion body encephalitis (MIBE) (MMR-II, ProQuad)
   ●   Migraine (Engerix-B, Recombivax)


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   ●   Multiple sclerosis (or MS exacerbation) (Engerix-B, Havrix, Recombivax, Twinrix)
   ●   Myelitis [spinal cord disease] (Adacel, Fluarix, FluzoneQ and FluzoneHD, Havrix, Recombivax, Twinrix)
   ●   Neuralgia [nerve pain] (Afluria, Fluad)
   ●   Neuritis, including brachial, polyneuritis [nerve inflammation] (Adacel, Afluria, Engerix-B, Fluad,
       Fluarix, FluzoneQ and FluzoneHD, MMR-II, Twinrix)
   ●   Neuropathy, polyneuropathy [nerve damage] (Afluria, Engerix-B, Fluarix, Havrix, MMR-II, ProQuad,
       Recombivax, Twinrix)
   ●   Paralysis (Engerix-B, Twinrix)
   ●   Paresis (Engerix-B, Twinrix)
   ●   Paresthesia [abnormal skin sensations] (Adacel, Afluria, Boostrix, Engerix-B, Fluad, Fluarix, Flucelvax,
       Flulaval, FluzoneQ and FluzoneHD, Havrix, IPV, MMR-II, Pneumovax-23, ProQuad, Tenivac, Varivax)
   ●   Partial seizures, seizures (Daptacel, Engerix-B, ProQuad)
   ●   Presyncope [feeling faint] (Fluad, Flucelvax)
   ●   Radiculopathy [“pinched nerve” in spine] (Pneumovax-23, Recombivax)
   ●   Somnolence (Daptacel, DT, Flulaval, Havrix, Hiberix, IPV, Pediarix, Pentacel, Quadracel, Recombivax)
   ●   Subacute sclerosing panencephalitis (SSPE) (MMR-II, ProQuad)
   ●   Syncope, vasovagal syncope [fainting] (Adacel, Bexero, Boostrix, Daptacel, DT, Engerix-B, Fluad,
       Fluarix, Flucelvax, Flulaval, FluzoneQ and FluzoneHD, Havrix, Hiberix, Infanrix, Kinrix, MMR-II,
       Pediarix, ProQuad, Recombivax, Tenivac, Trumenba)
   ●   Transverse myelitis [spinal cord demyelination] (Afluria, Engerix-B, FluzoneQ and FluzoneHD, MMR-
       II, ProQuad, Recombivax, Twinrix, Varivax)
   ●   Tremors (Flulaval, ProQuad)


               Psychiatric disorders

   ●   Agitation (IPV, ProQuad, Recombivax)
   ●   Crying/unusual crying (Pediarix)
   ●   Hypersomnia (ProQuad)
   ●   Insomnia (Flulaval, Pediarix)
   ●   Irritability (MMR-II, Recombivax)
   ●   Nervousness (Pediarix, ProQuad)
   ●   Restlessness (Pediarix)
   ●   Screaming (Daptacel, Pediarix, Pentacel, Quadracel)


               Respiratory, thoracic, and mediastinal disorders

   ●   Apnea (Engerix-B, Hiberix, Infanrix, Kinrix, Pediarix, Pentacel, Prevnar-13)
   ●   Asthma, asthma-like symptoms (Engerix-B, Fluarix, Twinrix)
   ●   Bronchospasm (Engerix-B, Fluarix, Flulaval, MMR-II, ProQuad, Recombivax, Tenivac, Twinrix)
   ●   Cough (Fluarix, FluzoneQ and FluzoneHD, Infanrix, MMR-II, Pediarix, Pentacel)
   ●   Dyspnea [shortness of breath] (Fluarix, Flulaval, FluzoneQ and FluzoneHD, Havrix, Pediarix, Quadracel,
       Twinrix)
   ●   Dysphonia [vocal abnormalities] (Flulaval)
   ●   Epistaxis [nosebleed] (FluMist)
   ●   Oropharyngeal pain (FluzoneQ)
   ●   Respiratory distress (Fluarix)
   ●   Rhinorrhea [runny nose] (FluzoneQ)
   ●   Stridor [high-pitched wheezing] (Fluarix)
   ●   Throat tightness (Flulaval, FluzoneQ and FluzoneHD)
   ●   Wheezing (FluzoneQ and FluzoneHD, ProQuad)



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               Skin and subcutaneous tissue disorders

   ●   Acute hemorrhagic edema of infancy (MMR-II, ProQuad)
   ●   Alopecia [hair loss] (Engerix-B, Recombivax, Twinrix)
   ●   Ecchymoses [subcutaneous bleeding] (Engerix-B, Recombivax, Twinrix)
   ●   Eczema (Engerix-B, Recombivax, Twinrix)
   ●   Erythema [skin redness] (Fluarix, Infanrix, MMR-II, Pediarix, Pentacel, TDVAX)
   ●   Erythema multiforme (Engerix-B, Fluad, Fluarix, Havrix, MMR-II, Pneumovax-23, ProQuad, Prevnar-
       13, Recombivax, Twinrix, Varivax)
   ●   Erythema nodosum (Engerix-B, Recombivax, Twinrix)
   ●   Exanthem [widespread rash] (Boostrix)
   ●   Facial swelling/edema (Daptacel, Fluarix, MMR-II, ProQuad, Varivax)
   ●   Hyperhydrosis [abnormal sweating] (Flulaval, Havrix, Twinrix)
   ●   Impetigo (ProQuad, Varivax)
   ●   Lichen planus [inflammatory skin rash] (Engerix-B, Twinrix)
   ●   Panniculitis [disease of fatty layer of skin] (MMR-II, ProQuad)
   ●   Parotitis [inflammation of salivary glands] (MMR-II, ProQuad)
   ●   Pruritus [itchy skin] (ActHIB, Adacel, Afluria, Boostrix, Daptacel, Fluad, Fluarix, Flucelvax, Flulaval,
       FluzoneQ and FluzoneHD, Infanrix, Kinrix, MMR-II, Prevnar-13, ProQuad, TDVAX, Tenivac)
   ●   Purpura [red/purple spots] (Engerix-B, MMR-II, ProQuad)
   ●   Rash (ActHIB, Adacel, Afluria, Bexero, Boostrix, Daptacel, DT, Fluad, Fluarix, Flucelvax, Flulaval,
       FluMist, FluzoneQ, Hiberix, Infanrix, IPV, MMR-II, Pediarix, Pentacel, Pneumovax-23, Prevnar-13,
       Quadracel, TDVAX, Tenivac)
   ●   Skin discoloration (Pentacel)
   ●   Skin induration (MMR-II, ProQuad)
   ●   Stevens-Johnson syndrome [severe skin reaction] (Engerix-B, Fluarix, FluzoneQ and FluzoneHD, MMR-
       II, ProQuad, Recombivax, Varivax)
   ●   Urticaria [hives] (ActHIB, Adacel, Afluria, Boostrix, DT, Engerix-B, Fluad, Fluarix, Flucelvax, Flulaval,
       FluMist, FluzoneQ and FluzoneHD, Hiberix, Infanrix, IPV, Kinrix, MMR-II, Pediarix, Pentacel,
       Pneumovax-23, Prevnar-13, Quadracel, Recombivax, RotaTeq, Tenivac, Twinrix)
   ●   Vesiculation (MMR-II)


               Vascular disorders

   ●   Cerebrovascular accident (ProQuad, Varivax)
   ●   Flushing (Flulaval, FluzoneQ and FluzoneHD)
   ●   Henoch-Schönlein purpura [blood vessel inflammation] (Boostrix, Fluarix, MMR-II, ProQuad, Varivax)
   ●   Pallor (DT, Flulaval, Hiberix, Pediarix, Pentacel, Prevnar-13, Quadracel)
   ●   Petechiae [bleeding capillaries] (Pediarix, Recombivax)
   ●   Polyarteritis nodosa [inflamed/damaged arteries] (Recombivax)
   ●   Renal vasculitis (Afluria, Fluad)
   ●   Vasculitis [blood vessel inflammation] (Afluria, Engerix-B, Fluad, Fluarix, FluzoneQ and FluzoneHD,
       Havrix, MMR-II, Recombivax, Twinrix)


               Urogenital disorders

   ● Epididymitis [testicular inflammation] (MMR-II, ProQuad)
   ● Orchitis [inflammation of the testes] (MMR-II, ProQuad)




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276.291.       In New York, under the current interpretation of the DOH regulation, if a child

   suffers any of the hundreds of serious adverse reactions above that are not highlighted, which

   are all conditions that the vaccine manufacturers include as reported vaccine adverse

   conditions, they must continue to submit to immunization even if they suffer harm and even

   if they have a sibling or family member who died from that same adverse reaction to

   immunization.


               ACIP Doesn’t Cover Most Harms Recognized by the VICP

277.292.       Similarly, the ACIP contraindications do not cover most of the harms proven and

   compensated by the United States Government as vaccine injuries.

278.293.       Congress enacted the National Childhood Vaccine Injury Act of 1986 (the “1986

   Act”) to grant pharmaceutical companies broad immunity, including complete financial

   immunity, from liability for injuries caused by vaccines.

279.294.       The 1986 Act bars vaccine injured plaintiffs from suing in civil court and instead

   requires them to pursue redress through the National Vaccine Injury Compensation Program

   (VICP).


280.295.       VICP requires plaintiffs to file a Petition with the United States Court of Federal

   Court of Claims within three years of the injury (regardless of whether the family knew or

   should have known the injury was caused by an immunization). The case is then litigated in

   a special proceeding with the US Department of Justice acting as opposing counsel on behalf

   of U.S. Health and Human Services (HHS).

281.296.       Vaccine manufacturers make the only consumer products in the U.S. with this kind

   of immunity from liability. Even the partial immunities enjoyed by gun manufacturers pale in

   comparison.

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282.297.       The United States Supreme Court explained that Congress granted immunity to

   vaccine manufacturers because litigation costs from injuries and harm were becoming so high

   that the production of vaccines was no longer profitable. For example, for the DTP vaccine,

   “by the mid-1980’s…the remaining manufacturer estimated that its potential tort liability

   exceeded its annual sales by a factor of 200.” Bruesewitz v. Wyeth LLC, 562 U.S. 223, 227

   (2011).

283.298.       Though the original intent of the VICP was to make the process easier for

   plaintiffs, subsequent changes have arguably made VICP proceedings more difficult and

   drawn out than civil proceedings. Plaintiffs in a VICP proceeding do not have discovery as of

   right and face many procedural barriers that do not exist in normal civil proceedings.

284.299.       Despite the additional barriers and the fact that the maximum pay-out for death in

   any case is $250,000, thousands of cases in the VICP have received awards, and HHS has

   paid out more than $4.2 billion dollars to compensate victims since the inception of the

   program.

285.300.       The following is a partial list of conditions that the VICP has compensated;, where

   we highlight the two highlighted conditions also are the only ones on the ACIP list of

   contraindications:

               Abscess, acute disseminated encephalomyelitis (ADEM), acute liver failure, adhesive

               capsulitis,aggravation of pre-existing encephalopathy, agoraphobia, anaphylactic shock,                  Formatted: Highlight

               anaphylaxis,antisynthetase syndrome, angiomatoid fibrous histiocytoma, anxiety, aplastic anemia,

               arm injury,arthritis, ataxia, autism, autoimmune hep type 2, autoimmune hemolytic anemia,

               behavioral issues, bell's palsy, benign tumor, bilateral peripheral neuropathy, bilateral shoulder

               pain, bilateral symmetric diaphragmatic palsy, blindness, brachial neuritis, brachial plexopathy,

               brachial plexus neuritis, cardiac injury, celiac disease, cellulitis, cerebellitis, cerebellar ataxia,



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               cerebrovascular accident, chest pain, choreiform movement disorder, chronic fatigue, chronic

               gastrointestinal issues, chronic arthritis, chronic inflammatory demyelinating polyneuropthay

               (CIDP), chronic urticarial, demyelinating disease of central nervous system, demyelinating

               polyradiculoneuropathy, chronic pain, complex regional pain syndrome, death, deltoid bursitis,

               demyelinating condition, demyelinating sensorimotor polyneuropathy, dermatomyositis, dravet

               syndrome, developmental delay, devic’s disease, eczema, encephalititis, encephalopathy, epilepsy,         Formatted: Highlight

               epstein barr virus, erythema multiforme major, evan’s syndrome, exacerbation of existing

               cardiomyopathy,    expressive    language   delay,   fatigue,     fibromyalgia,   frozen    shoulder,

               gastrointestinal symptoms, gastroparesis, GM1 gangliosidosis, guillain-barre syndrome (GBS),

               headaches,      hemophagocytic      lymphohistiocytosis         (HLH),    hodgkin's        lymphoma,

               phypereosinophilia, hypersensitivity, hypotensive-hyporesponsive shock collapse (HHE),

               hypoproteinemia, hypotonia, immobile flaccid legs, immune issues, immune thrombocytopenia

               purpa,increased risk of cancer, infantile spasms, inflammatory arthritis, joint pain, juvenile

               dermatomyositis, juvenile idiopathic arthritis, juvenile rheumatoid arthritis (JRA), Kawasaki

               disease, keloid scarring, leukocytoclastic vasculitis (LCV), leukodystrophy, latent herpes simplex

               virus infection, lichen planus, lipomas, long thoracic nerve palsy, lupus (SLE), lymphangitis,

               lymphomatoid granulomatosis, macrophagic myofasciitis, meningoencephalitis, metal toxicity,

               mixed connective tissue disease (MCTD), monoplegia, multi organ failure, multiple sclerosis,

               muscle spasms,myalgias, myelitis, necrotizing pancreatitis, nerve damage, neurological injury,

               neuromyelitis   optica   (NMO),    neuropathic    arm     pain,   neuropathy,     nodular    fasciitis,

               opsoclonusmyoclonus syndrome (OMS), ocular visual disturbance, optic neuritis, panic,overlap

               syndrome, panuveitis, panniculitis, parsonage turner syndrome, pemphigus vulgaris, peripheral

               neuropathy, permanent spastic tetraparesis, polyarthralgia, progressive encephalopathy, psoriatic

               arthritis, pulmonary edema, SIDS, radial nerve damage, rash, reactive inflammatory arthritis,

               reflex sympathetic dystrophy, residual seizure disorder (RSD), retro seizures, rhabdomyolysis,

               rheumatoid arthritis, rheumatologic injuries, scaring, scn1a, seizures, seizure disorder, sensory

               neuropathy, sensory polyneuropathy, serum sickness, sirva, small fiber neuropathy, shoulder pain,

               splenic rupture, abscesses, strep infection, stroke, suprascapular neuropathy, syncope, synovitis,


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               tendonitis, tendinopathy, toxic epidermal necrolysis (TEN), toxic shock syndrome, transverse

               myelitis (TM), thrombocytopenic purpa, tics, tremors, undifferentiated connective tissue disease

               (UCTD), urinary incontinence, uticarial andgiodema, uveitis, vasculitis, vestibular neuronitis

286.301.       Again, if a child suffered from any but two of the 100+ injuries listed above, the

   child would likely not qualify for a medical exemption under the challenged New York State

   medical exemption regulations. Instead, their parents would be forced to either give their child

   doses of the vaccines that could cause injury or death or forego the right to an education for

   their child. This is true even if the parents went to court to prove that the child’s existing injury

   was due to a vaccine. This is true even if the child has a sibling who had similar reactions and

   died.

       ACIP Doesn’t Cover Most Harms Recognized by The Institutes of Medicine

287.302.       Similarly, the ACIP guidelines do not cover many of the harms recognized by the

   Institutes of Medicine in its comprehensive, congressionally directed reports and review of

   the scientific literature.

288.303.       As part of the National Childhood Vaccine Injury Act of 1986, Congress directed

   HHS to contract with the Institute of Medicine (IOM) to evaluate and report on the adverse

   effects of federally recommended childhood vaccines.

289.304.       Beginning in 1990, IOM appointed expert committees to review the evidence in

   the medical literature and from other sources on the safety of government-recommended and

   mandated childhood vaccines.

290.305.       IOM published a series of reports between 1991 and 2013 evaluating all available

   scientific evidence related to certain reported vaccine injuries.

291.306.       In these reports, the IOM concluded that the evidence supports a causal

   relationship between immunization and the following conditions:

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           a. Death
           b. Thrombocytopenia
           c. Chronic arthritis
           d. Acute arthritis
           e. Shock and unusual shock-like state
           f. Protracted inconsolable crying
           g. Acute encephalopathy (brain inflammation)
           h. Chronic Nervous System Dysfunction (brain damage)
           i. Anaphylaxis (whole-body allergic reaction)
           j. Febrile Seizures (convulsions with fever)
           k. Guillain-Barre Syndrome (peripheral nerve inflammation)
           l. Brachial Neuritis (arm nerve inflammation)
           m. Deltoid Bursitis (shoulder inflammation)
           n. Acute & Chronic Arthritis (joint inflammation)
           o. Syncope (sudden loss of consciousness/fainting)
           p. Hypotonic/Hyporesponsive Episodes (shock and “unusual shock-like state)
           q. Protracted, Inconsolable Crying and Screaming
           r. Vaccine Strain Infection (smallpox, live polio, measles, varicella zoster vaccines)
           s. Hepatitis
           t. Pneumonia
           u. Meningitis

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292.307.       If a child or the child’s family member suffers one of the serious injuries causally
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   related to vaccination, such as death, the ACIP guidelines do not allow that child to be exempt

   from subsequent doses.

293.308. Moreover, the IOM reports also stressed that there are hundreds of additional serious

   adverse reactions that cannot be ruled out even if the literature is not yet developed enough to

   prove that there is a causal link. In each of the reports from the 1990’s through 2013, the IOM

   concluded repeatedly that continuing significant gaps in scientific knowledge about the

   biological mechanisms of vaccine injury and death exist, necessitating additional research.


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294.309.       Since there are not enough methodologically sound epidemiological and

   biological- mechanism studies evaluating vaccine adverse events, the IOM committee

   acknowledged that it could not come to definitive conclusions – either supporting a causal

   relationship or refuting one - on causation for many of the reported vaccine reactions

   involving chronic brain and immune system dysfunction and death.

295.310.       Specifically, the IOM found that for the then ten routinely used vaccines (MMR,

   DTaP, hepatitis B, hepatitis A, varicella zoster and meningococcal), there were too few

   scientifically sound studies published in the medical literature to determine whether more than

   100 serious brain and immune system problems are, or are not, caused by the vaccines,

   including multiple sclerosis, arthritis, lupus, stroke, SIDS, autism attention deficit syndrome,

   disruptive behavior disorder, tics and Tourette’s syndrome, intellectual disability, allergy,

   atopy, autoimmunity, learning disorders, developmental disorders, and asthma.

296.311.       The IOM reports discussed above have also consistently acknowledged evidence

   showing that there is individual susceptibility to serious vaccine injuries that will not show up

   in broader population studies.

297.312.       The IOM concluded: “Finally, the committee found that evidence from

   assessments of health outcomes in potentially susceptible subpopulations of children who may

   have an increased risk of adverse reactions to vaccines (such as children with a family history

   of autoimmune disease or allergies or children born prematurely) was limited…Most children

   who experience an adverse reaction to immunization have a preexisting susceptibility. Some

   predispositions may be detectible prior to vaccination; others, at least with current technology

   and practice, are not (IOM, 2012, p.82).




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298.313.       If a physician determines that a child’s history of pre-existing conditions, family

   history or genetic evaluation puts her at risk of harm from one or more immunizations, a

   narrow adherence to ACIP guidance would not respect that conclusion, even though the IOM

   and countless peer-reviewed studies acknowledge that there may be an increased and

   individualized risk for that child of harm.

299.314.       The New York regulations governing the medical exemption do contain a

   provision allowing a medical exemption if the determination about the risk of harm is based

   on ACIP or “any other evidence-based nationally recognized standard of care.”

315.   However, in practice, the defendants and their agents and assigns have failed to

   acknowledge or consider this category. Moreover, when they do, tremendous uncertainty

   exists about what it encompassed by this category or what is required from doctors to

   document this category.

316.   The DOH guidance to schools does not even acknowledge any “other evidence-based

   nationally recognized standards of care.”                                                          Formatted: Font color: Custom Color(RGB(40,40,40))


317.   In response to this lawsuit, DOH employees suggest that they mean this category to

   include guidance from two other clinical guidelines issued by many of the same members as

   ACIP and also not meant to be exhaustive, which do not meaningfully expand the covered

   harms.                                                                                             Formatted: Font color: Custom Color(RGB(40,40,40))


300.318.       Clinical guidelines are not meant to be an exhaustive list and cannot be used safely

   to define the limits of acceptable reasons a child may be at risk of harm from a vaccine.

301.319.       As science continues to develop, treating medical providers must receive

   deference when making recommendations about what may cause harm; only they, rather than




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   a school principal or outside consultant, have a full picture of the child’s family, medical

   history, and potential risk factors.

   THE EMERGENCY REGULATIONS ALLOW NON-MEDICALLY TRAINED
   SCHOOL PRINCIPALS TO OVERRULE TREATING PHYSICIANS

320.   In addition to narrowing the definition that treating physicians may use to determine what

   “might be detrimental to a child’s health”, the new regulations allow school principals to

   substitute their own judgment about whether the risk is sufficient to allow for exemption and

   overrule treating physicians.

302.321.       This is discretionary. There is no requirement that a school substantively review

   any licensed physician’s determination. There is no penalty to the school if the child is allowed

   to remain even if the DOH disagrees with the child’s physician about the determination.

322.   Nonetheless, the named school districts and school district defendants, along with many

   others across the state, have elected to adopt discretionary policies and practices to review

   and overrule treating physicians.

303.323.       School principals are not generally medically trained or licensed to practice

   medicine. Defendants universally acknowledge that school principals are not qualified to

   make medical decisions for children or evaluate the sufficiency of a treating physician’s

   medical determination or how and if it falls under the ACIP guidance.

304.324.       Though it is not required that a principal base the decision to overrule a physician

   on any professional consultation, the NYSDOH does allow and encourage schools to seek a

   medical consultation from a third party – either a school district contracted physician or the

   NYSDOH itself.

305.325.       However, before reaching a conclusion, the third-party reviewer is not required to

   examine the child or review the entire medical chart. As illustrated in the Doe appeal, the third

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   party reviewer is not even required to ask for more information if they can’t tell if a medical

   exemption meets the criteria or is warranted.

306.326.       The third-party reviewer has no duty of care to the child, no obligation to consider the

   child’s medical record or history, to contemplate the child’s unique characteristics and genetic

   composition, or even to consider the opinion of the child’s treating physician.

327.   The third-party reviewer is not liable if the child is subsequently harmed as a direct result of

   her uninformed and incomplete medical opinion.

307.328.       The third party reviewer is not even obligated to give specific reasons for the denial

   beyond generalized conclusions that it isn’t “supported.”

308.329.       Allowing principals to overrule treating physicians based on the advice or opinion

   of non-treating physicians or other administrators is particularly problematic in that school

   principals are not medically traineddoes not solve the issue of the school principal being

   unqualified to make these medical determinations. The principals are no more qualified to

   decide between different medical opinions than they are to evaluate the treating physician’s

   medical determination in the first place.

309.330.       Use of third-party reviewers deprives parents of the right to choose their own

   physician and rely on their best medical judgment, a right held to be fundamental by the Supreme

   Court in multiple cases, and severely limits their right to fundamental right of informed consent,

   as the third-party reviewer is not in communication with the parents or able to discuss the various

   health considerations at stake or the options.

310.331.       Sometimes, the families are not even told whom the school consulted with or given

   any information about the basis for why that consultant decided to overrule their doctor.

311.332.       In addition, there is an inherent conflict of interest as the third-party reviewers are

   employees of the entity that has a vested interest in ensuring a certain percentage of students

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   attending school are fully vaccinated. They thus have a stake in reducing or eliminating the

   number of partially vaccinated or unvaccinated students.

312.333.       Therefore, the third-party reviewer has an irreconcilable conflict of interest in

   providing a disinterested and fair recommendation regarding the risk to the individual child.

313.334.       Sometimes, these conflicts are worse. Defendant Dr. Elizabeth Rauch-Phung, M.D.,

   M.P.H. reviews many of the medical exemptions sent to the NYSDOH by local principals.

314.335.       Since 2010, Dr. Rausch-Phung has served as the full time Director of the Bureau of

   Immunizations for the NYSDOH where she is the administrative physician.

315.336.       Upon information and belief, Dr. Rausch-Phung has not seen or treated a patient for

   at least nine years.

316.337.       Dr. Rausch-Phung typically issues advisory opinions to principals without reviewing

   the full medical records of the children, without meeting or speaking to the child, the family or

   the treating physician, and without any specialty in the various conditions that the medically

   fragile children have.

317.338.       Dr. Rausch-Phung also has financial conflicts of interest.

318.339.       Specifically, while holding her position, she participated in a promotional video paid

   for by Sanofi Pasteur, Inc. (“Sanofi”) to assist in increasing vaccine uptake and sales.

319.340.       Sanofi is a pharmaceutical company with over $5 billion in annual vaccine revenue,

   which sells a large portion of vaccines used in the United States, including the vaccines that Dr.

   Rausch-Phung is pushing on medically fragile children against their treating physician’s advice.

320.341.       Dr. Rausch-Phung also serves as New York Program Manager for the Association

   of Immunization Managers (“AIM”), which received “critical support” from Merck, Sanofi

   and Pfizer, companies that together sell a majority of the vaccines mandated for children in

   the United States.


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321.342.       AIM, which is funded primarily by these vaccine manufacturers, specifically

   exists to increase vaccine uptake and sales.

322.343.       Recognizing the clear conflict, federal employees involved in immunization

   activities are barred from active membership in this organization.

323.344.       However, in New York, Dr. Rausch-Phung is not only an active member but

   program manager for the organization statewide.

324.345.       Whether or not Dr. Rausch-Phung’s activities outside of the NYSDOH constitute

   a legal conflict of interest, it is the parents’ right to decide if they would prefer to choose a

   physician who has no such potential ethical conflict. It is also the parents’ right to decide

   whether Dr. Rausch-Phung is in the best position to evaluate the risks and benefits of various

   pharmaceutical products for their specific child given her lack of recent experience treating

   patients.

325.346.       It is also the parents’ right to decide if they are comfortable with an evaluation

   done on a partial record without clinical examination or even review of the full medical record.

326.347.       Parents should be free to choose their child’s physician based on whom they

   believe is the most qualified and the best fit for their child.

327.348.       The medical exemption exists precisely so that treating physicians, chosen by

   parents, can exercise clinical medical judgment, prevent harm, and protect medically

   vulnerable children when in their medical opinion, further vaccination may put the child at

   risk.

349.   The medical exemption must remain under the full discretion of each treating physician

   to ensure that doctors can fulfill their duty to protect patients' health using evidence-based

   medicine while considering each individual patient’s medical history.                               Formatted: Font color: Custom Color(RGB(40,40,40))




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328.350.       The New York State Legislature intended by the plain language of the law that if

   any physician licensed to practice in New York certifies that an immunization might be

   detrimental to a child’s health, that child should be exempt. The new regulations and policies

   adopted by the defendants have overstepped the boundaries of regulatory authority and

   Constitutionally protected separation of powers by imposing corroboration requirements that

   fundamentally change the public health law so that any licensed physician is no longer able

   to make the determination.

   THE EMERGENCY REGULATIONS ARE OVERBURDENSOME AND REQUIRE
   UNLAWFUL PRIVATE PATIENT INFORMATION AND DETAIL

329.351.       The    Emergency Regulations       also   subject parents     to overburdensome

   documentation requirements which unlawfully prevent many from exercising their right to a

   medical exemption and violate the children and family privacy rights.

330.352.       Prior to 2019, it was enough for a physician to write a brief note indicating that a

   medically fragile child should be exempt from one or more of the immunizations due to the

   risk of harm and for indicating for how long. This was simple and within the scope of what

   doctors typically do on school forms.

331.353.       Now, doctors are being asked to fill out extensive forms and lengthy

   accompanying letters which provide enough detail that any number of reviewers – none of

   whom is familiar with the child or their medical or family history and many of whom have no

   medical training at all – can understand how the physician arrived at their decision to certify

   an exemption and how that decision squarely fits into the ACIP guidelines.

332.354.       Most doctors do not have the time or inclination to write such extensive reports as

   are required by the new regulations for something as routine as a school medical form.




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333.355.        Many doctors are also daunted by the hyper-legal nature of the reviews and though

   they understand the medical risks and reasons for their determination, are uncomfortable with

   trying to understand the legally narrowed criteria which now bind them.

334.356.        Many families find themselves having to spend large amounts of money and time

   in consultation with attorneys, medical specialists, and doctors’ offices to try to craft letters

   that will not be arbitrarily overruled.

335.357.        This level of engagement and documentation makes it impossible for families

   without the means or influence to hire such teams to get the medical exemptions they deserve

   under law.

336.358.        Moreover, the need for increased documentation creates significant privacy

   concerns.

337.359.        Doctors are compelled to present extensive private health information and

   reasoning on their forms about the individual child and often family health histories.

338.360.        These forms are then presented to school administrators who discuss and review

   this private information in detail with one another and with third party consultants and

   attorneys who, in some cases, affected families are not even allowed to know about. This

   presents a clear violation of medical privacy and HIPAA rights and is a dangerous precedent

   to set.

339.361.        Subparagraph (ii) of paragraph (4) of subdivision ( c) of section 66-1.2 further

   requires that a doctor submit the entire exemption request, including the extensive medical

   history and personal information now required on exemption forms to withstand scrutiny, into

   the New York State Immunization Information System.




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340.362.        Even for conditions that are listed as permanent contraindications, the families

   must obtain a new form every year, adding expense and burden to the already burdened

   families and treating physicians.

341.363.        A yearly submission also means that families must subject themselves to annual

   uncertainty as to whether their child will be allowed to stay in school.

342.364.        Many schools accept children initially but then, months later, expel them with a

   week’s notice mid-year.

343.365.        Treating physicians have been threatened and confused by the new regulations to

   the extent that many are hesitant to write exemptions even where they believe that one or

   more immunization may be detrimental to a patient’s health and that the grounds does fit

   within the ACIP criteria.

344.366.        The NYSDOH has indicated that its staff will be monitoring physicians who write

   medical exemptions and have been investigating and intimidating physicians who do so.

345.367.         Many parents have been told by their treating specialists and physicians that,

   though the physician believes that the child could be harmed by an immunization, s/he cannot

   dedicate the time and resources it takes to draft such an exemption.

346.368.         Many other physicians are confused by what the new regulations mean and do

   not want to risk any backlash from the NYSDOH if there is disagreement.

347.369.        Many doctors that wrote medical exemptions last year and for many previous years

   are telling plaintiffs that they are not willing to undergo the same burdens and scrutiny again

   this year.




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348.370.        Local Health Departments have given physicians false information about how

   narrow the criteria are, and many physicians have reported being bullied and threatened by

   the NYSDOH or the school district contract physicians.

349.371.        For those lucky few children whose physicians do submit themselves to this

   onerous process, upon the advice and pressure from defendant DOH, school principals are

   overruling the vast majority of medical exemptions.

350.372.        Since the passage of the “emergency” regulations last year, an alarming number

   of medically fragile children have been expelled from school and denied services when they

   refused to immunize their children against medical advice.

        MANY MANDATORY VACCINES ONLY PROTECT THE RECIPIENT

351.373.        At least half of the vaccines that are on the mandatory schedule in New York are

   only able to provide protection to the recipient and are not able to provide any protection for

   the rest of the community.

352.374.        Tetanus is not a contagious disease. Tetanus containing vaccines cannot protect

   anyone but the recipient of the vaccine.

353.375.        The polio vaccine mandated in the United States– the inactivated polio vaccine

   (“IPV”)- does not stop replication and transmission and allows the recipient to become an

   asymptomatic carrier and pass polio on to others.

354.376.        The same is true of the vaccines for pertussis, diphtheria, and meningococcal

   infection.

355.377.        Other vaccines on the list, particularly the live vaccines, are generally thought to

   be able to protect against replication and transmission. However, they have also been shown




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   to cause recently vaccinated individuals to shed and infect others. For this reason, cancer

   patients are often told to stay away from the recently vaccinated.

356.378.        The number of medically fragile children seeking a medical exemption in New

   York and the risk to the community from them if they forego immunizations on the advice of

   their physicians is small enough that there is no compelling reason to narrow the scope of the

   medical exemption or place these burdens on it.

357.379.        Hundreds of vulnerable children have suffered irreparable harm as the result of the

   policies, procedures, and practices adopted by the defendants regarding the medical

   exemption.

                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                          Violations of Substantive Due Process Rights
358.380.        Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

   forth above.

381.   The Constitution of the United States of America recognizes and preserves the right of

   citizens to be free from government actions that harm life, liberty, and property. These

   inherent and inalienable rights reflect the basic societal contract of the Constitution to protect

   people from government infringement ofn basic natural rights and freedoms.

382.   The challenged regulations, policies and practices of the defendants violate a number of

   fundamental rights requiring strict scrutiny, and the government lacks a compelling interest

   which is sufficiently tailored to survive strict scrutiny.

383.   First, defendant Zucker’s new regulations, which arbitrarily narrow the definition of “what

   may cause harm” to exclude hundreds of medically fragile children whose health and life may

   be at risk of serious harm, violates the right to life itself.



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384.   The Supreme Court has repeatedly held that otherwise permissible health regulations must

   contain a medical exemption sufficient to cover any person whose health or life may be at risk

   of serious harm to be constitutional. The right to a medical exemption is one of the most

   strictly upheld rights recognized by the Supreme Court since before the adoption of tiers of

   scrutiny. Requiring families to vaccinate medically fragile children whose physicians have

   certified are at risk of serious harm or death from the vaccine at issue is “cruel and inhuman

   in the last degree” and violates the most basic Constitutional rights of the children and their

   parents. The state may or may not have a right to defend itself against contagious disease by

   asking people to submit to a vaccine that they are philosophically opposed to, but there is no

   question that the state cannot require a person to take a vaccine that a licensed doctor has

   certified could cause them harm or death in the name of the public health. Individuals also

   have a right to self defense in such a situation and this is well articulated in the case law.

   Individually named defendants have further violated this fundamental right by narrowing the

   definition of what may cause harm even farther as articulated within the individual plaintiffs’

   stories and requiring additional unconstitutional burdens on the right to a medical exemption.

385.   For the same reason, defendants’ practice of overruling, or permitting the overruling of

   the judgment of medical doctors familiar with plaintiffs’ children by persons unqualified to

   make such judgments, and depriving these children of a free public education (and the right

   to pursue any education at all), and of federally guaranteed services unless they incur the risk

   of substantial injury and/or death, unconstitutionally infringes on the Constitutionally

   protected right to a medical exemption and the very right to life itself.

386.   Central to the right to a medical exemption is also a closely related right of a patient (or a

   parent of a minor) to make medical decisions in accordance with the best medical judgment



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   of their chosen licensed physician, without undue burdens from the state. The Supreme Court

   held that it is unconstitutional to subordinate the good faith medical judgment of a licensed

   physician by subjecting it to corroboration requirements, narrowing the scope of factors a

   doctor can consider regarding medical necessity, or subjecting to review processes which

   require impossible specificity and non-treating physicians to exercise approval or denial over

   a chosen physician’s clinical determination. Under law, such practices are unconstitutional

   even in the face of compelling governmental interest as they put the patient at risk of harm

   and overreach on the strictly protected right to a medical exemption.

387.   These policies, which must be reviewed under strict scrutiny, cannot even survive an

   intermediate or lower level standard of review. Allowing school principals to overrule treating

   physicians and removing clinical discretion about “what may cause harm” so that hundreds

   of medically fragile children are subjected to risk of serious harm and death is conscious-

   shocking and irrational and violates the plaintiffs’ right to substantive due process as

   guaranteed by the Fourteenth Amendment and made actionable by 42 U.S.C. section 1983.

                              SECOND CLAIM FOR RELIEF
           Violation of 14th Amendment by burdening liberty interest in parenting

359.388.       Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

   forth above.

360.389.       Parents have a well-recognized liberty interest in directing the care and upbringing

   of their children. This includes choosing the most appropriate treating physician and choosing

   whether to follow their advice when the physician has determined that their child could be at

   risk of harm from one or more immunization.to follow the advice of a licensed physician who

   certifies that their child is at risk of serious harm or death from one or more immunization,




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   whether or not a non-treating consultant employed by the child’s school agrees with the

   chosen physician.

390.   Defendants’ practice of overruling, or permitting the overruling of the judgment of

   licensed medical doctors, chosen by parents and familiar with plaintiffs’ children by persons

   unqualified to make such judgments, trespasses upon plaintiffs’ right as parents to make

   decisions concerning the health and welfare of their children, one central element of liberty

   as guaranteed by the Fourteenth Amendment and made actionable by 42 U.S.C. section 1983.

391.   State defendants’ promulgation of regulations which take discretion away from treating

   physicians about what may cause harm violates the parents’ right to make decisions in reliance

   on their chosen physician’s best medical judgment. These regulations impact all parents who

   seek a medical exemption, whether or not their exemption is secured or overruled– the School

   District defendants’ adoption of additional policies and practices which further narrow the

   definition and subordinate the doctor-patient relationship also violates the same fundamental

   right.

361.392.       Parents also have a fundamental liberty interest in directing the education of their

   child. Barring parents from pursuing an education at any public or private school if they

   choose to follow the medical advice of their chosen licensed medical provider violates this

   fundamental liberty interest.

362.   The defendants’ practices, policies and procedures adopted in relation to implementation

   of the regulations regarding medical exemptions to immunization in New York are not

   narrowly tailored to serve a compelling state interest. The state defendants have no compelling

   interest in violating the parents’ rights by allowing school principals to usurp their medical




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   decision-making in cases of conflicting opinion or to subject them to invasive review absent

   a finding of neglect or abuse.

393.      Many of the practices and burdens articulated in this complaint serve no rational basis at

   all.

                                  THIRD CLAIM FOR RELIEF

       Violation of 14th Amendment by burdening liberty interest in informed consent

363.394.         Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

   forth above.

364.395.         The right of informed consent is protected by the Constitution of the United States,

   the Treaties and Laws made pursuant thereto, and the case law of the United States of

   America.

365.396.         Parents have a fundamental right and liberty interest to be able to exercise

   informed consent on behalf of their minor children, particularly when made in accordance

   with the medical advice received from their licensed physicians.

366.397.         Directly and through their agents, defendants have willfully refused to reasonably

   accommodate the fundamental right of parents, thereby placing an undue burden on the

   protected interests and rights of the plaintiffs to exercise informed consent and opt out of a

   medical intervention which has been established to be potentially harmful to the individual

   child.

367.398.         Not only are parents denied the discretion about whether to consent to treatment

   in accordance with the recommendation of their licensed physician, but even the right to basic

   information has been taken away. Determinations are being made between school principals

   and outside doctors or consultants who are not in communication with the parents and children



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   and who do not provide a full explanation of the risks and benefits of the procedures as it

   applies to the child.

                            FOURTH CLAIM FOR RELIEF
    Violation of 14th Amendment by unconstitutionally burdening minors’ right to free
          publicpursue an education at any public or private school in New York

368.399.       Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

   forth above.

369.400.       Children have a liberty interest in being allowed to pursue an education generally

   and the right, under the New York State Constitution and the United States Constitution, to a

   free public education.

370.401.       Defendants’ practice of conditioning children’s right to pursue an education at any

   school in New York – even private school or daycare - , public, private or daycare, or receive

   guaranteed benefits, on the parents’ waiver of fundamental rights including the right to

   exercise informed consent in furtherance of the best interests of their child based on the advice

   of licensed physicians, violates the doctrine of unconstitutional conditioning.

                                  FIFTH CLAIM FOR RELIEF
                              Violation of Rehabilitation Act of 1973

371.402.       Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

   forth above.

372.403.       The new regulations and the defendants’ policies, practices, and procedures in

   implementing them are not narrowly tailored and both facially and in practice result in

   overbroad application and infringement upon the plaintiffs’ fundamental rights.

373.404.       Plaintiff children are all disabled as defined by the Rehabilitation Act of 1973 in

   that each of them suffers from a limitation in the performance of one or more major life

   activity.

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374.405.       By dint of their manner of administering the medical exemption provided by the

   State of New York, defendants have unlawfully excluded plaintiffs’ children from

   participation in an activity, namely schooling, which receives federal financial assistance,

   thereby violating section 504 of the Rehabilitation Act of 1973.



                                  SIXTH CLAIM FOR RELIEF
                              Violation of Rehabilitation Act of 1973

375.406.       Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

   forth above.

376.407.       Medically fragile children are being disparately impacted by the state’s narrow

   and arbitrary medical exemption requirements.

377.408.       The ACIP guidelines are not meant to be comprehensive and do not cover reasons

   why some children might be put at risk by one or more of the mandated immunizations.

378.409.       Medically fragile sub-populations particularly have not been adequately studied,

   and there is significant divergence of thought within the medical and scientific community

   about the risk that is posed to medically fragile subpopulations.

379.410.       The challenged regulatory scheme cannot be defended as a law of general

   applicability.

380.411.       There is no rational basis for discriminating against children who suffer from the

   hundreds of recognized harms that do not fall on the ACIP contraindications and precautions

   list.

381.412.       Defendants have violated the rights of medically fragile children to receive equal

   protection of the law by enacting and promulgating regulations which disparately impact

   medically fragile children.

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382.413.       Plaintiffs are being harmed by the actions of the dDefendants in the violations of

   all the above-named causes of action.

414.   Wherefore, Plaintiffs pray for relief as more fully set forth below.



                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiffs pray that this Honorable Court accept jurisdiction in this matter

and:

       A. Certify plaintiffs as class representatives of a class comprised of persons/children

           who have been sought medical exemptions in New York State since August 1, 2019;

       B. Recognize Michael Sussman, Esq., and Sujata Gibson, Esq., Robert F. Kennedy, Jr.,

           Esq. and Mary Holland, Esq., as counsel for the class;

       C. Declare that dDefendants have violated the constitutional rights of the plaintiffs and

           Section 504 of the Rehabilitation Act;

       D. Declare that the NYSDOH regulations restricting the availability of the medical

           exemption are facially unconstitutional and unconstitutional as applied;

       E. Permanently enjoin defendants from subjecting the named plaintiffs and plaintiff

           class to policies and practices that violate their constitutional and other legal rights

           including specifically enjoining defendants from engaging in the following practices:

           [1] allowing school district administrators to deny requests for medical exemptions

           submitted on behalf of class members by physicians licensed to practice in the State

           of New York or primary care Nurse Practitioners or Physician’s Assistants; [2]

           requiring that as a condition for obtaining medical exemptions, class members

           provide detailed medical information which trespasses class members right to privacy



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           of medical records to the extent consistent with their request for a medical exemption;

           [3] requiring annual recertification of medical exemptions unless the treating provider

           indicated it was a temporary exemption; [4] predefining the medical conditions

           which may predicate grant of a medical exemption rather than allowing licensed

           physician chosen by the parents to make clinical determinations about what may

           cause harm;

       F. Order defendants to develop, adopt and implement policies and practices to ensure

           that the State of New York and it’s school districts do not continue to engage in

           burdensome reviews of medical exemptions or deny medically fragile children an

           education for opting out of one or more mandatory school vaccine when their

           licensed physician has certified that it may be harmful to their health;

       F. Temporarily enjoin defendants from excluding children from school who have

           submitted a medical exemption to immunization signed by a licensed physician or

           treating nurse practitioner; and

       G. Award plaintiffs general, compensatory, nominal and/or punitive damages in amounts

           to be determined at trial against individually named school district defendants;

       H. Award plaintiffs’ reasonable costs and attorney’s fees incurred in this action; and

       I. Grant any such other relief as the Court deems just, necessary, and proper.

               Dated: June 22, 2020

                                                  Respectfully submitted,



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